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  JUNE 2020




  CITY OF CHICAGO
  OFFICE OF INSPECTOR
  GENERAL
  REVIEW OF THE CHICAGO POLICE DEPARTMENT’S
  MANAGEMENT AND PRODUCTION OF RECORDS




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ACRONYMS
BIA                        Bureau of Internal Affairs
CHRIS                      Criminal History Records Information System
CLEAR                      Civilian and Law Enforcement Analysis and Reporting
CPD                        Chicago Police Department
CR                         Complaint Register
DOL                        Department of Law
FCRL                       Federal Civil Rights Litigation Division
OIG                        Office of Inspector General
OLA                        Office of Legal Affairs
RD                         Records Division



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             REVIEW OF THE CHICAGO   POLICE
               DEPARTMENT'S MANAGEMENT
              AND PRODUCTION   OF RECORDS


                                               The     Chicago             Police Department               (CPD)
                                               lacks     standard,               management-driven
                                               practices            to ensure          that    all records
                                               responsive             to a records            request      are    produced.



                                               CPD’s      record           management               and   production
                                               processes             are     inadequate             to ensure     the
                                               Department              can       meet     its constitutional            and
                                               other      legal       obligations.




              CPD     is unable           to     effectively               determine          what     records      exist,
              making         it impossible               to know            whether       it has       identified       and
              produced         all relevant records.




             Of the     15,252           subpoenas             tracked           within       the    Subpoena       Unit’s
             database         between            June 2019 and August                         2019, 74%          were   never
             forwarded             to    other       CPD       units        to    retrieve      related     records.




              CPD     also    lacks        appropriate                review
              processes            to ensure           that materials are
              properly        produced,                which         risks       the
              disclosure           of materials                that    may        raise
              privacy        and        public       safety         concerns.




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I.       EXECUTIVE SUMMARY
The Office of Inspector General (OIG) has completed a review of the Chicago Police
Department’s (CPD or the Department) processes for managing and producing its records for
criminal prosecution and civil litigation arising out of law enforcement activities. CPD is involved
in both criminal and civil litigation, since its investigations and corresponding records are used as
evidence in both types of proceedings. CPD, both directly and as an entity acting on the
government’s behalf in a criminal case, is required by law and the United States Constitution to
disclose evidence in its possession, with certain exceptions; those obligations include but are not
limited to those enumerated in Brady v. Maryland and Giglio v. United States and their progeny,
Illinois state law, and Court-promulgated rules of civil procedure. 1

OIG found that CPD’s processes for identifying and producing records are inadequate to comply
with its constitutional and other legal obligations due to the following:

     •   CPD’s Subpoena Unit and Office of Legal Affairs (OLA), the units responsible for
         responding to subpoenas and records requests, cannot ensure that they are identifying
         and locating all responsive records for production. The Department lacks the means to
         determine what records may exist for any case or incident, making it impossible to know
         whether it has identified and produced all relevant records.
     •   When receiving a request for “any and all” relevant records (i.e., requests with broad
         language) including but not limited to certain specific records, Subpoena Unit members
         routinely fail to conduct a thorough search beyond the specific categories of records
         enumerated, in order to satisfy the broader request.
     •   When the Subpoena Unit receives subpoenas with broad language, members routinely
         do not attempt to identify paper records, as they cannot determine which of CPD’s units
         may hold such records.
     •   CPD does not systematically track its production of records. Records produced by
         individual CPD members, as well as records from CPD units sent directly to litigants, are
         not uniformly recorded, or otherwise documented in a comprehensive tracking system.
     •   CPD does not have adequate processes in place to ensure that records it produces are
         relevant to the case for which those records are being requested (e.g., CPD may produce
         body-worn camera footage including hours of footage involving non-related incidents).
         Additionally, CPD processes lack clarity as to who bears responsibility for notifying OLA to
         review responsive records, and when such notification can or must occur; this risks the
         disclosure of records which may raise privacy and public safety concerns.

OIG conducted interviews with 19 CPD members and 20 stakeholders to collect data for this
report. OIG found that the stakeholders, including judges, prosecutors, defense attorneys, and
civil rights attorneys, based on direct observation and experience, regard CPD’s records
management and production processes to be ineffective. Retrieving records from CPD generally

1
 See Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. U.S., 405 U.S. 150 (1972), Kyle v. Whitley, 514 U.S. 419 (1995),
725 ILCS 5/114-13, Ill. Sup. Ct. R. 201, 1 Fed. R. Civ. P. 26.

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requires multiple production requests to various CPD units and members. Stakeholders
expressed frustration with the large variations in time for CPD to produce its records—
production for some cases may take a few months while for other cases it may take years—and a
lack of confidence in CPD to produce all appropriate records at all. Some stakeholders found it
difficult to communicate with CPD to resolve these issues.

OIG concluded that CPD’s records management and production processes are inadequate to
meet its constitutional and legal obligations. To correct the existing problems, OIG recommends
that CPD develop Department-wide records management and production policies, procedures,
and trainings to ensure that CPD members understand their own, the Department’s, and the
Cook County State’s Attorney’s legal and constitutional obligations to effectively identify and
produce records. Additionally, CPD should develop and implement a records management
system that allows for the effective and efficient identification of records across CPD’s various
units, systems, and physical locations. Finally, OIG recommends improved communication,
coordination, and transparency with stakeholders to develop these policies, procedures,
trainings, and systems, and to resolve any issues moving forward.

CPD agreed with most of OIG’s recommendations regarding its production of records. OIG
commends CPD for its proactive development of an upcoming records production directive and
standard operation procedures within units. CPD agreed to audit its production processes and to
capture those processes in its ongoing Department-wide staffing analysis. With respect to
certain recommendations which CPD did not agree to implement, such as those relating to the
automation of all records, the Department cited concerns over staffing and resource scarcity.
While CPD’s implementation of a software solution to improve production-related tracking and
communications is commendable, OIG notes that the improved tracking of subpoena responses
does not result in improved quality or completeness of subpoena responses; that is, CPD’s
efforts to improve production-related tracking and communication does not address its inability
to ensure that it is identifying all relevant records so that they may be produced. OIG continues
to encourage CPD to provide consistent, enterprise-wide, management-driven guidance to its
constituent units and to address the identification and review issues highlighted herein. OIG’s
specific recommendations, and CPD’s responses, are described in the “Finding and
Recommendations” section of this report. 2

II. BACKGROUND
CPD is involved in both criminal prosecution and civil litigation arising out of law enforcement
activities, as its investigations and corresponding records are used as evidence in both types of
proceedings. In order to prepare for trial and retrieve all relevant records including those from
CPD, litigants engage in pretrial discovery, a process by which they exchange records in order to


2
 The publication of this report with CPD’s response triggers the provision of the Municipal Code of Chicago
mandating that, at the request of three or more aldermen, the chair of the Committee on Public Safety hold a
hearing to receive testimony from the superintendent or his designee in response to questions concerning the
Department’s response to this report. MCC § 2-56-245.

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comply with their constitutional and court-imposed disclosure obligations. 3 An incomplete or
untimely exchange of records may constitute a violation of the Constitution as well as procedural
obligations mandated by law. Such violations may have adverse impacts on litigants’ ability to
make strategic and well-informed decisions (e.g., whether to plead guilty or go to trial), as well as
the quality of justice (e.g., exculpatory records not being produced for trial). 4

A.       LEGAL AND CONSTITUTIONAL OBLIGATIONS
CPD, both directly and as an entity acting on the government’s behalf in a criminal case, is
required by law and the United States Constitution to disclose evidence in its possession, with
certain exceptions; those obligations include but are not limited to those enumerated in Brady v.
Maryland and Giglio v. United States and their progeny, the Illinois Rules of Civil and Criminal
Procedure, and Court-promulgated rules.

In Brady, the United States Supreme Court held that “the suppression by the prosecution of
evidence favorable to an accused upon request violates due process where the evidence is
material either to guilt or to punishment, irrespective of the good faith or bad faith of the
prosecution.” 5 In Giglio, the Supreme Court explicitly drew the scope of required disclosure to
include evidence affecting the credibility of a witness. 6 In this context, notably, this would
include information related to the disciplinary history of an officer who might serve as a witness.
Subsequent caselaw makes clear that the constitutionally-derived obligations are not limited in
reach to prosecutors’ offices, but rather that a prosecutor “has a duty to learn of any favorable
evidence known to the others acting on the government's behalf in the case, including the
police.” 7

Outside of federal constitutional jurisprudence, CPD is directly and explicitly required by State
law to identify and produce material in its possession. Pursuant to the Illinois Rules of Criminal
Procedure,

         Any public investigative, law enforcement, or other public agency responsible for
         investigating any homicide offense or participating in an investigation of any
         homicide offense, other than defense investigators, shall provide to the authority

3
  Discovery also includes exchanges of other forms of evidence; however, only records are within the scope of this
report. “How Courts Work,” American Bar Association, accessed November 14, 2019,
https://www.americanbar.org/groups/public education/resources/law related education network/how courts w
ork/discovery/.
4
  Exculpatory evidence is “evidence that goes towards negating a defendant’s guilt, that would reduce a defendant’s
potential sentence, or evidence going to the credibility of a witness.” While the prosecution is required to disclose
all material exculpatory evidence even without affirmatively being asked to do so, defense attorneys also attempt to
retrieve government records directly to ensure that all relevant records were disclosed. “Brady Rule,” Legal
Information Institute, Cornell Law School, accessed November 14, 2019,
https://www.law.cornell.edu/wex/brady rule.
5
  Brady v. Maryland, 373 U.S. 83, 87 (1963).
6
  Giglio v. U.S., 405 U.S. 150, 154 (1972).
7
  Kyle v. Whitley, 514 U.S. 419, 437 (1995).

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          prosecuting the offense all investigative material, including but not limited to
          reports, memoranda, and field notes, that have been generated by or have come
          into the possession of the investigating agency concerning the homicide offense
          being investigated. In addition, the investigating agency shall provide to the
          prosecuting authority any material or information, including but not limited to
          reports, memoranda, and field notes, within its possession or control that would
          tend to negate the guilt of the accused of the offense charged or reduce his or
          her punishment for the homicide offense. Every investigative and law
          enforcement agency in this State shall adopt policies to ensure compliance with
          these standards. Any investigative, law enforcement, or other public agency
          responsible for investigating any “non-homicide felony” offense or participating in
          an investigation of any “non-homicide felony” offense, other than defense
          investigators, shall provide to the authority prosecuting the offense all
          investigative material, including but not limited to reports and memoranda that
          have been generated by or have come into the possession of the investigating
          agency concerning the “non-homicide felony” offense being investigated. In
          addition, the investigating agency shall provide to the prosecuting authority any
          material or information, including but not limited to reports and memoranda,
          within its possession or control that would tend to negate the guilt of the accused
          of the “non-homicide felony” offense charged or reduce his or her punishment
          for the “non-homicide felony” offense. This obligation to furnish exculpatory
          evidence exists whether the information was recorded or documented in any
          form. Every investigative and law enforcement agency in this State shall adopt
          policies to ensure compliance with these standards. 8

Furthermore, both federal and state courts operate pursuant to legally promulgated rules to
govern processes and parties’ obligations in discovery entitling litigants to obtain appropriate
material relevant to their claim. Failure to comply with discovery rules may result in the
imposition of sanctions against the noncompliant litigant, including findings of contempt,
possible financial penalties, and adverse rulings on evidence and claims.

Specifically, pursuant to Illinois Supreme Court Rule 201, a party to civil litigation “may obtain by
discovery full disclosure regarding any matter relevant to the subject matter involved in the
pending action, whether it relates to the claim or defense of the party seeking disclosure or of
any other party, including the existence, description, nature, custody, condition, and location of
any documents or tangible things, and the identity and location of persons having knowledge of
relevant facts.” 9 Pursuant to the Federal Rules of Civil Procedure, “[u]nless otherwise limited by
court order…[p]arties may obtain discovery regarding any nonprivileged matter that is relevant
to any party’s claim or defense,” and are required to make certain disclosures even absent a
request to do so. 10

8
  725 ILCS 5/114-13(b).
9
  Ill. Sup. Ct. R. 201(b)(1).
10
   Fed. R. Civ. P. 26(b)(1).

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In addition to these intrinsic obligations, CPD is subject to requests for and orders to produce
records of various kinds. During criminal litigation, the prosecution and defense obtain CPD
records during the discovery process via subpoenas duces tecum issued to the Department,
which require CPD to produce relevant items and records. 11 During discovery for civil litigation,
litigants obtain CPD records via records requests issued to the Department. 12

B.       CASE STUDIES
CPD’s ability to identify and produce records is a critical underpinning of the discovery process in
both criminal and civil litigation. The case studies below illustrate adverse consequences of CPD’s
failure to adequately identify and produce its records; the specific records management
processes discussed in these case studies may not reflect current CPD practices, as these are
historical cases and their outcomes do not reflect any remedial efforts CPD has undertaken.

         FIELDS V. CITY OF CHICAGO, No. 10CV01168 (N.D. Ill. filed February 22, 2010)
In Fields v. City of Chicago, a lawsuit filed in 2010 arising out of an overturned prosecution, it
emerged that CPD had not produced all relevant records during Nathson Fields’ original criminal
trial three decades earlier. 13 As a result, the federal judge hearing the civil suit granted Fields’
attorney, Candace Gorman, the authority to review 500 “street files” found inside CPD’s old
Wentworth Area Headquarters dating from 1979 to 2006. 14 Gorman compared the contents of
the street files to records which the prosecution and CPD had produced for defendants during
criminal prosecutions. 15 Gorman reviewed 60 cases and found that more than 90% of the
information found in the street files was not included in the materials produced to defendants,
including witness accounts. 16 Ultimately, the judge imposed a $70,000 sanction against the
City. 17 Additionally, Gorman’s team has worked towards identifying other potentially affected
parties to determine whether CPD was in possession of evidence which was never produced

11
   A subpoenas duces tecum requires the recipient to produce records. “Subpoena duces tecum,” Legal Information
Institute, Cornell Law School, accessed November 14, 2019,
https://www.law.cornell.edu/wex/subpoena duces tecum.
12
   OLA referred to these records requests as “information requests.”
13
   General Progress Reports (detective notes) were not all produced during criminal proceedings but were later
discovered in the civil trial.
14
   “Street files” is an unofficial term referring to files maintained by CPD members containing typed police reports,
detective notes, and other evidence. Meisner, Jason, “Old police ‘street files’ raise question: Did Chicago cops hide
evidence?” Chicago Tribune, February 13, 2016, accessed November 14, 2019,
https://www.chicagotribune.com/news/ct-chicago-police-street-files-met-20160212-story.html.
15
   Meisner, Jason, “Old police ‘street files’ raise question: Did Chicago cops hide evidence?” Chicago Tribune,
February 13, 2016, accessed November 14, 2019, https://www.chicagotribune.com/news/ct-chicago-police-street-
files-met-20160212-story.html.
16
   Meisner, Jason, “Old police ‘street files’ raise question: Did Chicago cops hide evidence?” Chicago Tribune,
February 13, 2016, accessed November 14, 2019, https://www.chicagotribune.com/news/ct-chicago-police-street-
files-met-20160212-story.html.
17
   Meisner, Jason, “City attorney ordered to pay $70,000 in sanctions for El Rukn mistrial,” Chicago Tribune,
November 9, 2015, accessed November 14, 2019, https://www.chicagotribune.com/news/breaking/ct-el-rukn-
mistrial-city-sanctions-met-20151109-story.html.

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during those parties’ criminal proceedings. Any other instances of incomplete disclosure could
pose further risk to the City. 18

         CAZARES AND MANZERA V. FRUGOLI, No. 13CV5626 (N.D. Ill. filed August 7, 2013)
In 2012, former CPD Officer Joseph Frugoli was convicted of aggravated driving under the
influence and leaving the scene of a fatal accident. 19 The families of Frugoli’s two victims filed a
wrongful death lawsuit against the City. 20 During pretrial discovery, CPD produced Frugoli’s
disciplinary or complaint register (CR) history, which indicated that CPD had not sustained any of
the 20 complaints that had been filed against Frugoli. 21 On the stand in the civil suit, however,
Frugoli’s testimony contradicted that CPD had sustained disciplinary charges against him more
than two decades earlier, and that he had been suspended without pay. 22

Counsel for the City requested that CPD conduct a new search for previously undiscovered
records related to Frugoli’s discipline. CPD’s Bureau of Internal Affairs (BIA) conducted another
search, similar to the one conducted during the pretrial discovery period, for the missing
sustained CR. BIA searched three databases containing CR information. However, after running
the searches, BIA was unable to locate Frugoli’s 25-year-old sustained CR. 23

Ultimately, CPD located records related to the CR number at issue. CPD relied on the recollection
of a CPD paralegal who remembered a screen in a retired Citizen and Law Enforcement Analysis
and Reporting (CLEAR) application that contained information related to disciplinary actions
which impacted officers’ pay. 24 Since Frugoli’s sustained CR resulted in a suspension without
pay, that CLEAR application included the CR number, which had been previously undisclosed and




18
   According to CPD, the street files found inside of CPD’s Wentworth Area Headquarters have now been reviewed
by DOL, moved to CPD Headquarters, audited by the Bureau of Detectives, and converted to electronic files.
19
   Meisner, Jason, “Chicago to pay $20 million to settle code-of-silence lawsuit over fatal crash caused by drunken
cop, sources say,” Chicago Tribune, December 19, 2017, accessed November 14, 2019,
https://www.chicagotribune.com/news/breaking/ct-met-chicago-cop-fatal-dui-settlement-20171218-story.html.
20
   Meisner, Jason, “Chicago to pay $20 million to settle code-of-silence lawsuit over fatal crash caused by drunken
cop, sources say,” Chicago Tribune, December 19, 2017, accessed November 14, 2019,
https://www.chicagotribune.com/news/breaking/ct-met-chicago-cop-fatal-dui-settlement-20171218-story.html.
21
   City of Chicago’s Position Paper Regarding Discovery Violation at 7, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6,
2018), ECF No. 505.
22
   Meisner, Jason, “Chicago to pay $20 million to settle code-of-silence lawsuit over fatal crash caused by drunken
cop, sources say,” Chicago Tribune, December 19, 2017, accessed November 14, 2019,
https://www.chicagotribune.com/news/breaking/ct-met-chicago-cop-fatal-dui-settlement-20171218-story.html.
23
   City of Chicago’s Position Paper Regarding Discovery Violation at 2-7, Cazares v. Frugoli, No. 1:13-CV-05626 (April
6, 2018), ECF No. 505.
24
   CLEAR is a product procured by CPD, consisting of several modules and applications that, in part, store electronic
records. In totality, CLEAR is a collection of different technologies, dating from the early 2000s to present day. City
of Chicago’s Position Paper Regarding Discovery Violation at 7, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6, 2018),
ECF No. 505.

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which had not appeared in any prior search of his disciplinary history. 25 BIA searched for the CR
within its three CR databases again but, even with the CR number, found no related records. 26

After BIA attempted to find Frugoli’s sustained CR within its three databases, counsel for the City
conducted its own search for related records. Department of Law (DOL) attorneys searched for
the missing CR using CPD’s Records Warehouse list, consisting of paper CR files dating from 1972
to 2004, which were stored at CPD’s Records Warehouse. 27 In total, counsel found two Frugoli
CRs which had not been previously disclosed, one of which was the one Frugoli had mentioned in
his testimony. 28

CPD was unable to explain why these CRs were not in one of its three CR databases. The court
ordered the City to file a position paper to explain why the City did not produce these relevant
responsive records. In its position paper, the City acknowledged that systems were not in place
to prevent similar failures from occurring again. To avoid these issues, CPD created a tool to
search for records in the three CR databases and the retired Finance Division’s application in
CLEAR as well as the Records Warehouse CR list. 29 Shortly after these undisclosed records came
to light, the City settled the lawsuit for $20 million. 30

          YOUNG V. CITY OF CHICAGO, No. 13CV5651 (N.D. Ill. filed August 8, 2013)
In August 2018, United States Magistrate Judge M. David Weisman recommended sanctions
against the City in Young v. City of Chicago, a lawsuit in which the plaintiff alleged that a CPD
officer used excessive force in a fatal shooting. 31 According to Judge Weisman, the case had
been “plagued” by discovery issues. 32 The plaintiff filed a motion for sanctions when the City
produced an officer’s working file after the City asserted for years that the file did not exist. 33
The Magistrate’s report highlighted the City’s history of discovery problems and recommended
“that the District Court employ its broad discretion in imposing a sanction that will address not


25
   City of Chicago’s Position Paper Regarding Discovery Violation at 7, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6,
2018), ECF No. 505.
26
   City of Chicago’s Position Paper Regarding Discovery Violation at 7, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6,
2018), ECF No. 505.
27
   The Records Warehouse is a records storage facility used for records with long retention periods. City of Chicago’s
Position Paper Regarding Discovery Violation at 8, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6, 2018), ECF No.
505.
28
   City of Chicago’s Position Paper Regarding Discovery Violation at 8, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6,
2018), ECF No. 505.
29
   City of Chicago’s Position Paper Regarding Discovery Violation at 8, Cazares v. Frugoli, No. 1:13-CV-05626 (April 6,
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cop, sources say,” Chicago Tribune, December 19, 2017, accessed November 14, 2019,
https://www.chicagotribune.com/news/breaking/ct-met-chicago-cop-fatal-dui-settlement-20171218-story.html.
31
   Young v. City of Chicago, No. 1:13-CV-5651 (N.D.Ill. Aug. 14, 2018).
32
   Young v. City of Chicago, No. 1:13-CV-5651 (N.D.Ill. Aug. 14, 2018).
33
   The working file was not produced because the plaintiff had requested the working file of the “evidence officer,”
while the technical title of relevant CPD member was “evidence coordinator” or “evidence technician.” Young v. City
of Chicago, No. 13-CR-05651 (N.D.Ill. Mar. 14, 2019)

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only the specific discovery problems evident in this case, but also the City’s more global
discovery problems witnessed by Courts in this district. All constituents involved —Plaintiff (as
well as future plaintiffs in police shooting cases), the City, the Court —are motivated to find a
resolution to what appears to be a persistent issue in these types of [police misconduct]
cases.” 34 Magistrate Judge Weisman recommended, for the District Court’s consideration, the
creation of a list of records (e.g., documents, files, etc.) held by various City and state agencies
(e.g., CPD, Illinois State Police, Cook County State’s Attorney’s Office, etc.), relevant to fatal
shootings. The purpose of the list was to allow future litigants to better understand what
potential records exist for shooting cases. In March 2019, United States District Judge Joan B.
Gottschall accepted the recommendation that the City be required to create a list of records
potentially relevant to fatal police shootings, including records created and maintained by other
agencies. 35 According to CPD, DOL personnel have received training on how to use the now-
completed list.

        EXTERNAL REVIEW CONDUCTED FOR THE DEPARTMENT OF LAW
Between May 2011 and February 2018, federal judges sanctioned DOL nine times over discovery
issues in civil cases involving police misconduct. 36 To examine these issues, the City engaged
Winston & Strawn LLP to review DOL’s Federal Civil Rights Litigation Division’s (FCRL) discovery
procedures and practices. 37 In 2016, Winston & Strawn LLP published their review of FCRL cases
and found that several factors contributed to discovery issues, including CPD’s failure to identify
requested records, and miscommunication between FCRL and CPD. 38 Furthermore, FCRL
attorneys expressed difficulties with identifying and obtaining records from CPD, adding that
CPD’s OLA, the unit responsible for producing CPD records for civil litigation, “functioned more
like a document pulling service than a true discovery partner.” The report highlighted the
complex nature of CPD’s records management system and the need for additional and better
communication between the two agencies. 39

34
   Young v. City of Chicago, No. 1:13-CV-5651 (N.D.Ill. Aug. 14, 2018).
35
   Judge Gottschall did not fully accept Judge Weisman’s recommendations; specifically, he rejected some of
Weisman’s specific suggestions regarding cost allocations for attorneys’ time spent reviewing the list of records.
Young v. City of Chicago, No. 1:13-CV-5651 (N.D.Ill. Aug. 14, 2018).
36
   The Law Department’s FCRL represents CPD whenever the department or a member of the department is named
in a lawsuit. Meisner, Jason, “1 Law Department attorney resigns, 2 others suspended over controversial case,”
Chicago Tribune, February 2, 2018, accessed November 14, 2019,
https://www.chicagotribune.com/news/breaking/ct-met-city-sanctions-withholding-evidence-cop-trial-20180202-
story.html, Dan K. Webb and Robert L. Michels, “Report to City of Chicago Concerning Review of the Department of
Law’s Federal Civil Rights Litigation Division,” Winston & Strawn LLP, July 21, 2016, accessed November 14, 2019,
https://www.winston.com/images/content/1/1/v2/114276/Winston-Strawn-Report-City-of-Chicago-FCRL-Division-
Review.pdf.
37
   Dan K. Webb and Robert L. Michels, “Report to City of Chicago Concerning Review of the Department of Law’s
Federal Civil Rights Litigation Division,” Winston & Strawn LLP, July 21, 2016, accessed November 14, 2019,
https://www.winston.com/images/content/1/1/v2/114276/Winston-Strawn-Report-City-of-Chicago-FCRL-Division-
Review.pdf.
38
   Discovery issues unrelated to CPD included instances in which FCRL did not pursue aspects of discovery with
sufficient diligence and issues related to the training and supervision of FCRL’s personnel.
39
   Dan K. Webb and Robert L. Michels, “Report to City of Chicago Concerning Review of the Department of Law’s
Federal Civil Rights Litigation Division,” Winston & Strawn LLP, July 21, 2016, accessed November 14, 2019,

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DOL refused to participate in interviews with OIG for the purposes of this review. OIG does not,
therefore, comment on what measures, if any, have been taken in response to Winston &
Strawn’s report. 40

C.      CPD’S RECORDS STORAGE PRACTICES
CPD’s approach to records storage is fundamental to the Department’s ability to competently
produce records when it is called upon to do so. CPD holds two types of records: paper and
electronic (i.e., records stored in CPD’s information systems). 41

The units within CPD which create paper records are each individually and separately responsible
for the storage and production of these records. CPD does not have Department-wide policies,
standards, or training on records storage; therefore, each unit determines how to file and store
its respective records. If paper records accumulate quickly within units or have a longer retention
period, those records are stored centrally in either the Records Storage Center at CPD
Headquarters or at CPD’s Records Warehouse.

CPD describes electronic records as records that are stored in one of its various information
systems, such as CLEAR or the Criminal History Records Information System (CHRIS). 42 CPD’s
Information Services Division is responsible for the maintenance of electronic records and the
applications which house them. 43 According to a CPD list of applications, as of December 2018,
98 applications were housed within CLEAR and CHRIS, which are used to create and store various
records and data.

D.      CPD’S PRODUCTION PROCESSES 44
        SUBPOENAS FOR CRIMINAL LITIGATION
The Subpoena Unit, a unit within the Bureau of Technical Services’ Records Division, is charged
with the production of CPD records responsive to subpoenas for criminal litigation. The Cook
County State’s Attorney’s Office issues most of the subpoenas received by the Subpoena Unit,
but the Subpoena Unit may receive subpoenas from other litigants, including the United States



https://www.winston.com/images/content/1/1/v2/114276/Winston-Strawn-Report-City-of-Chicago-FCRL-Division-
Review.pdf.
40
   According to CPD, the Department provides DOL with updates to any records or orders. Additionally, CPD and DOL
reportedly have standing meetings to discuss cases and improve production processes.
41
   Some CPD members referred to paper and electronic records as “manual” and “automated” respectively.
42
   CHRIS consists of several applications that are used to complete and store various automated records; including,
some records created by the Detectives Division during their investigations.
43
   City of Chicago, Chicago Police Department, “General Order G01-02-07 Organization and Functions of the Bureau
of Technical Services,” December 2017, accessed November 14, 2019,
http://directives.chicagopolice.org/directives/data/a7a57b9b-15632909-98a15-6329-
2fd8a504c5b4361a.html?hl=true.
44
   The processes described below are those which were described to OIG by the Subpoena Unit, OLA, and other
relevant CPD units.

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Attorney’s Office, the Office of the Public Defender, and private attorneys. 45 The Subpoena Unit
is staffed by 13 CPD members, including six civilians and seven sworn members. 46 When a
member is assigned to the Subpoena Unit, they receive an orientation from a civilian member
who has been employed in the Subpoena Unit for over 20 years; however, they do not receive
any specialized legal training or training in records management and production. 47 As of March
2019, CPD procured a GovQA software system for the Subpoena Unit to centrally store
subpoena information and coordinate internal CPD production-related communications. 48
Specifically, the GovQA system allows the Subpoena Unit to email units which may hold records
responsive to a subpoena and have those units upload records onto GovQA. Notably, GovQA
does not allow Subpoena Unit members to determine what records may exist responsive to a
subpoena, nor where such records may be stored. The Subpoena Unit takes the following steps
to identify and produce records responsive to subpoenas.

             Subpoena Intake
The Subpoena Unit estimates that it receives between 1,000 and 1,200 subpoenas each week,
with a typical return date of 21 days after issuance. When litigants send subpoenas directly to
other CPD units, those units are supposed to forward the subpoena to the Subpoena Unit, rather
than produce the requested records directly. When the Subpoena Unit receives subpoenas, it
scans the subpoena into GovQA and adds additional reference information such as the case
docket number, relevant identifiers (e.g., Records Division number), and the date the subpoena
was received.

             Records Identification
The Subpoena Unit is responsible for identifying which records CPD holds and is obligated to
produce for criminal litigation. Both sworn members and civilian members review subpoenas to
identify what records are being requested, whether they are electronic or paper, and where they
are stored. Subpoenas typically request records using either detailed or broad language.
Subpoenas with detailed language request specific records, while subpoenas with broad
language request all records related to a case. Some subpoenas and records requests include
both the detailed language and the broad language (e.g., “any and all records, including the
following…”).

Individual members of the Subpoena Unit use different idiosyncratic, ad hoc processes to
determine what records are responsive to a subpoena (See “Finding and Recommendations” for
more details). They generally, however, use their previous individual experiences and knowledge
to determine if records exist and which CPD unit maintains those records. If the requested

45
   CCSAO and CPD leadership hold regular meetings to discuss records disclosures and discovery obligations.
46
   Staffing figure was provided in July of 2019.
47
   Subpoena Unit members did receive training on how to use the GovQA system the Subpoena Unit uses to track its
production processes.
48
   Prior to the GovQA system, CPD used a CLEAR application called the “Subpoena Log,” which tracked Subpoena
Unit production processes. When the Subpoena Log was in use, production-related communications occurred via
department mail.

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records are electronic, then the Subpoena Unit will search for them in the corresponding system
(e.g., CLEAR and CHRIS). The quality of any result would necessarily depend on the completeness
and integrity of data stored in that system. If the requested records are paper records, the
Subpoena Unit will forward the subpoena to the custodian of that record via GovQA (See Figure
1). If the requested records do not exist or the unit is unable to locate them, then the unit will
submit a negative report (units are typically required to respond within 96 hours). After
identifying relevant records, CPD units scan and upload their paper records to GovQA.

FIGURE 1: WHO IS RESPONSIBLE FOR IDENTIFYING SUBPOENAED RECORDS?

                                                              Subpoena Language
                                              Detailed                                   Broad


                                                                         Some Subpoena Unit members do not
                                     The Subpoena Unit forwards
                                                                        attempt to identify paper records, while
                  Paper




                                  subpoenas to relevant CPD unit to
                                                                        others use their experience to determine
                                    retrieve the requested records
                                                                        which units may have responsive records
 Type of Record




                                                                        The Subpoena Unit uses their experience
                  Electronic




                                   The Subpoena Unit searches for
                                                                         to determine which records may exist
                                requested records within the relevant
                                                                           and searches relevant systems and
                                   systems (e.g., CLEAR and CHRIS)
                                                                                     applications




Source: OIG Interviews with CPD personnel.

                               Records Production
When the Subpoena Unit has received all the records it has requested from other CPD units, and
has identified all the records within CPD’s information systems, Subpoena Unit staff will print
those records and hand-deliver them to the appropriate court. Prior to the use of GovQA
beginning in March 2019, the Subpoena Unit did not track which records it produced to litigants.
Currently, GovQA tracks records that were produced from each unit and records identified by
the Subpoena Unit through CPD’s information systems. The Subpoena Unit does not attempt to
identify relevant, responsive records created after CPD’s production of records and does not

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conduct any ongoing search for such newly created records. Instead, CPD relies on litigants to
send subsequent subpoenas to capture any records created after CPD’s response to the initial
subpoena.

        ALTERNATIVE PROCESSES
             Records Requests for Civil Litigation
OLA, within the Office of the Superintendent, is responsible for producing records responsive to
requests arising from civil litigation where CPD or a CPD member is named as a defendant in a
lawsuit. OLA receives records requests from DOL or outside counsel representing the City. OLA is
staffed with a discovery sergeant and paralegals who are responsible for processing requests for
records. The discovery sergeant does not receive any special training to complete these duties.
Generally, OLA uses similar processes as the Subpoena Unit for the identification and production
of records. The most substantive difference is that OLA requires DOL itself to provide detailed
records requests (i.e., to specifically name the records). Another difference is that OLA does not
keep any centralized record of parties’ record production requests. When receiving records
requests, OLA determines whether the records being requested are electronic or paper. If paper
records, OLA will send a request via Department mail to the relevant unit requesting the specific
record. If the record is electronic, support staff within OLA will search through CHRIS and CLEAR
to retrieve the record. Once both paper and electronic records are retrieved, paralegals mail or
email the responsive records to the requesting party. Each OLA paralegal maintains paper files
pertaining to these lawsuits where they track the production of records. According to CPD, after
the Winston & Strawn review in 2016, CPD provided DOL direct access to its electronic systems
to retrieve relevant records. 49

             Notifications of CPD Members
It is a regular practice for CPD members involved in criminal investigations to meet with
prosecutors to produce records directly and in-person. Through the Court Notification System,
prosecutors notify detectives and officers to appear in court, or in their offices, in order to
discuss a case, review records retrieved through a subpoena, and produce any outstanding
records when necessary. Neither the Subpoena Unit nor the CPD member’s unit track records
produced in-person during these meetings with prosecutors.

E.      CPD’S DIRECTIVES
CPD has several directives which are relevant to its records production processes, including the
following: 50




49
   Due to DOL’s refusal to participate in this review, OIG could not determine in detail how this process works nor
the impact of this access.
50
   When OIG spoke to CPD members with records production responsibilities about Department policies, members
did not mention any of these.

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FIGURE 2: RELEVANT CPD DIRECTIVES
 CPD Directive       Relevant Information
 General Order G01- G01-02-07, issued on December 8, 2017, states that the Records
 02-07               Division’s Records Inquiry Section is responsible for processing
                     subpoenas. 51
 Special Order S08-  S08-02, issued January 29, 2019, states that the Records Division will
 02                  receive all subpoenas delivered to CPD. Additionally, when litigants
                     summon an officer to appear in court or the state’s attorney requests
                     an interview, the Special Order requires the officer to produce complete
                     and accurate reports, records, and pertinent physical evidence to the
                     court. However, the Special Order states “when subpoenaed by the
                     defense, officers will NOT provide the defense with any reports or
                     records.” 52 (Emphasis in original.)
 General Order G01- G01-02-01, issued on May 10, 2018, states the Office of the General
 02-01               Council’s Legal Affairs Section is responsible for responding to
                     subpoenas. 53
 Special Order S08-  As of June 20, 2019, Special Order S08-04 added unit-level guidance for
 04                  the processing of subpoenas. The responsibilities are outlined as
                     follows:
                     • Information Services Division will provide units with devoted email
                         accounts to receive subpoenas.
                     • The Records Division will administer GovQA at the unit level and
                         provide training to designated unit members.
                     • Unit Commanding Officers will designate a unit member to monitor
                         subpoena requests, locate corresponding records, and deliver them
                         to the Records Division. 54
 Resources           The associated resource for CPD’s Retention Schedule, issued October
  CPD-11.717         31, 2019, states that the originating CPD unit will maintain its own
                     records. The units may transfer records to the Records Division if

51
   City of Chicago, Chicago Police Department, “General Order G01-02-07 Organization and Functions of the Bureau
of Technical Services,” December 2017, accessed November 14, 2019,
http://directives.chicagopolice.org/directives/data/a7a57b9b-15632909-98a15-6329-
2fd8a504c5b4361a.html?hl=true.
52
   City of Chicago, Chicago Police Department, “Special Order S08-02 Court Appearance, Notification, and
Attendance Responsibilities,” January 2019, accessed November 14, 2019,
http://directives.chicagopolice.org/directives/data/a7a57be2-12936eaa-d1812-9373-
348ca54934fd782b.html?hl=true.
53
   City of Chicago, Chicago Police Department, “General Order G01-02-01 Organization and Functions of the Office
of the Superintendent,” May 2018, accessed November 14, 2019,
http://directives.chicagopolice.org/directives/data/a7a57be2-1291da66-88512-91e5-
ccaba9fe9937c542.html?hl=true.
54
   City of Chicago, Chicago Police Department, “Special Order S08-04 Disseminating Information in Civil or Criminal
Legal Actions and in Civil Suits Against Department Members,” June 2019, accessed November 14, 2019,
http://directives.chicagopolice.org/directives/data/a7a57be2-12b3f6c9-62812-b409-
be04b4ffb3292ea5.html?hl=true.

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                           records have long retention periods and the originating CPD unit has
                           exceeded its physical storage space. 55
 Special Order S09-        S09-03-01, issued April 6, 2004, delineates where certain CPD records
 03-01                     are to be stored. If field-generated reports such as case, supplementary,
                           and traffic crash reports are older than the immediate previous year,
                           but not older than eight years old, they are stored in the Records
                           Storage Center, located at CPD Headquarters. CPD’s off-site Records
                           Warehouse stores paper records with a retention period of six years or
                           longer. 56
 CPD Form                  Relevant Information
 CPD-12.145                The Subpoena Request Guidelines outline for litigants how they should
                           submit subpoenas, how the Subpoena Unit will fulfill and respond to
                           subpoenas, and how litigants should follow-up regarding outstanding
                           requests. 57
Source: CPD Directives.




55
   City of Chicago, Chicago Police Department, “CPD-11.717 Forms Retention Schedule,” October 31, 2019, accessed
November 14, 2019, http://directives.chicagopolice.org/directives/data/a7a57bf0-12d716c6-c3512-d716-
c93ba132012a0a14.html?hl=true.
56
   City of Chicago, Chicago Police Department, “Special Order S09-03-01 Records Management,” April 2004,
accessed November 14, 2019, http://directives.chicagopolice.org/directives/data/a7a57be2-12a81847-be112-a818-
a1162d94a19017c6.html?hl=true.
57
   Subpoena Unit leadership could not answer OIG’s questions regarding form CPD 12.145, and OIG was unable to
find a directive providing CPD members guidance on the use of the form. OIG therefore was unable to determine
specifically how CPD uses the form. City of Chicago, Chicago Police Department, “Subpoena Request Guidelines,”
June 2014, accessed November 14, 2019, https://home.chicagopolice.org/wp-content/uploads/2014/12/Subpoena-
Request-Guidelines.pdf.


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III. OBJECTIVES, SCOPE, AND METHODOLOGY
A.       OBJECTIVES
The objectives of the review were to determine how CPD identifies and produces records for
criminal prosecution and civil litigation arising out of law enforcement activities. OIG sought to
understand stakeholder experiences when attempting to retrieve or use records from CPD. OIG
also tried to identify and assess risks associated with CPD’s production processes.

B.       SCOPE
The scope of this review includes how CPD identifies records responsive to subpoenas and
records requests; how those records are produced to litigants; and, the underlying records
management systems that affect the identification and production of records. From June 2018
through November 2019, OIG met and communicated with various CPD members and
stakeholders to collect information.

Furthermore, included in this report is a review of Subpoena Log entries from August 1, 2018,
through August 31, 2018, and a review of GovQA entries from June 1, 2019, through August 31,
2019.

Through stakeholder interviews, OIG determined a need for transparency as it pertains to CPD
records and records management. Appendix A includes a demonstrative list of CPD records
which OIG determined to be potentially relevant to criminal prosecution or civil litigation arising
out of law enforcement activities; the Appendix is intended to demonstrate the breadth of the
potential universe of CPD records related to a criminal case, and significant potential for the
existence of records which fall outside of litigants’ knowledge and specific requests. For the
purposes of this demonstrative exercise, OIG only reviewed records present in CPD’s Retention
Schedule.

This review does not address CPD’s systems and processes for creating records, supervisory
review of drafts, or information security procedures.

C.       METHODOLOGY
To determine how CPD identifies and produces responsive records, and to examine risks
associated with these practices and processes, OIG interviewed 19 CPD members from the
following:

     •   Office of the Superintendent
             o Office of Legal Affairs
     •   Bureau of Technical Services
             o Records Division
             o Information Services Division


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     •   Bureau of Detectives
            o Areas North, Central, and South
     •   Bureau of Organized Crime
     •   Bureau of Patrol
            o Districts 007, 008, and 011
            o Areas North, Central, and South

To gather stakeholder perspectives on CPD’s ability to identify and produce records, OIG
interviewed 20 individuals and members of external organizations including:

     •   Circuit Court of Cook County judges (Juvenile Justice)
     •   Cook County State’s Attorney’s Office prosecutors
     •   United States Attorney’s Office prosecutors
     •   Cook County Public Defender’s Office defense attorneys
     •   Private attorneys

OIG collected stakeholders’ accounts of their experiences with CPD’s production processes.
Stakeholders were identified based on their experience with obtaining, using, and relying on CPD
records as evidence in litigation.

To create Appendix A, OIG attorneys reviewed records listed in CPD’s April 12, 2019 Retention
Schedule to determine which of those records were potentially relevant to criminal prosecution
or civil litigation arising out of law enforcement activities. 58 If determined to be potentially
relevant, records appear in Appendix A along with a hyperlink to a blank copy of that record; as
of March 9, 2019, CPD has made some but not all of these forms publicly available.

To complete its analysis of the Subpoena Unit’s attempts to retrieve records from other CPD
units, OIG retrieved GovQA and Subpoena Log entries and reviewed the number of times a
subpoena was forwarded to CPD units.

D.       STANDARDS
OIG conducted this review in accordance with the Quality Standards for Inspections, Evaluations,
and Reviews by Offices of Inspector General found in the Association of Inspectors General’s
Principles and Standards for Offices of Inspector General (i.e., “The Green Book”).

E.       AUTHORITY AND ROLE
The authority to perform this inquiry is established in the City of Chicago Municipal Code § § 2-
56-030 and -230, which confer on OIG the power and duty to review the programs of City
government in order to identify any inefficiencies, waste, and potential for misconduct, to

58
   City of Chicago, Chicago Police Department, “CPD-11.717 Forms Retention Schedule,” March 8, 2019, accessed
April 10, 2019.

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promote economy, efficiency, effectiveness, and integrity in the administration of City programs
and operations, and, specifically, to review and the operations of CPD and Chicago’s police
accountability agencies. The role of OIG is to review City operations and make recommendations
for improvement. City management is responsible for establishing and maintaining processes to
ensure that City programs operate economically, efficiently, effectively, and with integrity.




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IV. FINDING AND RECOMMENDATIONS
                          FINDING: CPD CANNOT ENSURE THAT IT
                          IDENTIFIES AND PRODUCES ALL RELEVANT
                          RECORDS IN ITS POSSESSION AS REQUIRED.

CPD’s current processes render the Department unable to ensure that it is meeting its
constitutional and legal obligations. There have been various public examples of the failure to
meet these obligations, with the impacts of these failures being felt by individuals, prosecutors,
defense and civil attorneys, and the City itself. Most pressing is the risk that the constitutional
rights of individuals are violated through denials of due process, defective trials, and faulty
litigative outcomes including wrongful convictions. Additionally, repeated failures to comply with
disclosure obligations leave the City at significant risk for adverse civil litigation outcomes,
including costly sanctions, settlements, and judgments.

As a result of a lengthy production process, cases may be frequently delayed while litigants await
CPD records. These delays have the potential to fundamentally undermine the overall fairness of
the justice system. While awaiting trial, criminal defendants are often under some form of
pretrial supervision (e.g., in custody, on bail, subject to electronic home monitoring, etc.).
Criminal defendants are entitled to swift and fair resolution of their cases, 59 yet pretrial
supervision represents a limitation of liberty interests before any finding of guilt; if litigants were
in possession of more complete information earlier in the course of a case, they could make
more timely and better informed decisions about the viability of charges, the merit of plea
offers, and the risks of trial.

CPD’s inefficient and ultimately defective production processes, more generally, threaten the
quality of administered criminal justice. Stakeholders expressed frustration over the amount of
time they needed to devote to discovery and follow up with CPD about pending requests,
instead of working on substantive legal issues and managing the case itself. Delayed trial
commencement can negatively impact the prosecution and/or defense. For example, witnesses
necessary to either side may tire of appearing in court to testify, only to have the court date
delayed multiple times due to incomplete records production. Moreover, timeframes aside,
stakeholders lack critical confidence that CPD can be relied upon to identify and produce all
appropriate records.

There is also a considerable and unnecessary expenditure of resources inherent to CPD’s current
production processes. CPD members are frequently notified to appear in court or to meet with
prosecutors to determine whether the Department has produced relevant records. According to
stakeholders, although these meetings are currently necessary to assist in producing records,


59
     725 ILCS 5/103-5.

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they take officers and detectives away from their regular law enforcement-related duties and
potentially entitle them to overtime pay.

While CPD’s implementation and use of GovQA to improve production-related tracking and
communications is commendable, the improved tracking of subpoena responses does not result
in improved quality or completeness of subpoena responses; that is, CPD’s efforts to improve
production-related tracking and communication does not address its inability to ensure that it is
identifying all relevant records so that they may be produced.

A.     RISKS TO CPD’S ABILITY TO ENSURE THAT IT IDENTIFIES AND
       PRODUCES ALL APPROPRIATE RECORDS
       IDENTIFICATION OF RECORDS
As noted by Records Division and Subpoena Unit leadership, CPD is unable to ensure that all
records responsive to a request or subpoena are produced because the Department has no
means to effectively identify which records exist for any specific investigation or case; the
Department cannot produce records which it fails to identify. Requesting parties, who are
themselves unable to know what records might exist, submit most subpoenas with broad
language (i.e., seeking “any and all” records relevant to an investigation or case). CPD estimates
that 80% to 90% of subpoenas it receives for criminal prosecutions include broad requests.
Additionally, for civil litigation, OLA requires DOL to use detailed language in records requests
despite not providing DOL a means to identify what records exist. Since CPD does not provide
litigants the means to delineate the potential universe of records, litigants cannot determine
what relevant records are in CPD’s possession in order to request them specifically.

When attempting to identify electronic records responsive to broad subpoenas, Subpoena Unit
personnel do not conduct thorough searches to ensure all relevant electronic records are
identified and produced to litigants. For example, Subpoena Unit personnel search CLEAR to
identify responsive electronic records. CLEAR has 93 applications and does not have a “search
all” function to search every application. In the absence of a “search all” function, the Subpoena
Unit’s searches for electronic records are limited to records each member presumes to exist
based on the expectation that similar cases have similar records (e.g., a similar set of records will
exist for all burglary investigations). Subpoena Unit personnel believe that they know where to
look based on prior experience, and do not search through all 93 applications. Investigations of
similar cases will not always result in the creation of the same universe of records; therefore,
these limited searches may not be sufficient to retrieve all responsive records, consequently
providing no means to ensure that CPD is meeting its constitutional and legal obligations. One
Subpoena Unit member stated that when they received a broadly worded subpoena from a
private attorney, they would attempt to contact the requesting party for clarification on the
records sought. However, they did not attempt to do the same for subpoenas submitted by
prosecutors.




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The Subpoena Unit’s processes for identifying paper records raise several concerns that impact
its ability to produce all responsive paper records. Subpoena Unit personnel stated that they do
not attempt to identify paper records when receiving broadly worded subpoenas. According to
Subpoena Unit leadership, litigants are content with only receiving electronic records in
response to subpoenas with broad language. As was evident from OIG’s review of 15,252 GovQA
entries between June 2019 and August 2019, 74% of subpoenas received by the Subpoena Unit
were not forwarded to any other CPD unit for the retrieval of paper records, 21% were
forwarded to one unit, 3% were forwarded to two units, and 2% were forwarded to three or
more units (See Figure 3). 60 Among the August 2018 subpoena entries examined by OIG, 98 were
related to homicide investigations; only 25 (25.5%) of those were forwarded to CPD’s Bureau of
Detective to retrieve corresponding investigative files. 61

FIGURE 3: NUMBER OF UNITS SUBPOENAS WERE FORWARDED TO BY MONTH




Source: GovQA data.

As described above, the Subpoena Unit and OLA do not have the means to determine which
paper records may exist within CPD’s units, even when those records are specifically requested
(e.g., there is no way to determine how many photographs exist for an investigation, even if a
requesting party asks specifically for them). Both the Subpoena Unit and OLA rely on assigned
personnel within units to identify and produce records. However, many unit personnel with these
responsibilities highlighted that they themselves are unable to determine which records exist
within their own units, citing a lack of access to all responsive records and inconsistent
communication with other Department members to better ensure all responsive records are
produced. Additionally, the Subpoena Unit and OLA have limited information about how these
units manage their records. This further hinders CPD’s ability to ensure that all unit records are
identified and produced.

Within other CPD units, members also described varying practices that impact the units’ ability
to ensure that all responsive records are identified. For example, coming out of the 2020 budget
process, CPD’s Bureau of Detectives will be divided into five geographically based Areas.

60
   OIG could not determine the number of units these subpoenas should have been forwarded to; however, when
considering that 80% to 90% of subpoenas contain broad language, the forwarding rates found on GovQA raise
concerns about the Subpoena Unit’s attempts to identify all relevant paper records.
61
   Since CPD’s automated systems do not contain all records created during an investigation, such as General
Progress Reports, OIG would expect all subpoenas to be forwarded to detective Areas for the retrieval of the full
investigative file.

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Historically, Bureau of Detective Areas have been responsible for managing their own
investigative records. Administrative personnel, including some administrative detectives, within
these Areas are responsible for collecting approved investigative records from detectives and
compiling them into an investigative file. 62 When receiving a production request for an
investigatory file, these members locate the file and forward a copy of it to the requesting unit
(i.e., the Subpoena Unit or OLA).

However, the procedures described by administrative personnel to determine whether an
investigative file is complete vary, are often idiosyncratic and ad hoc, and generally are
insufficient to ensure completeness (i.e., that all relevant records are identified and included in
the case file). 63 One administrative member stated that they would attempt to communicate
with detectives directly, but they were often unsuccessful in doing so; the member believed this
may have been due to detectives’ workload. Another administrative member stated that they do
not have time to contact detectives. To determine if an investigative file was complete, one
administrative member stated that they would assess a file’s physical thickness. If a file was thin,
the member searched CHRIS to find any missing records. 64 Not only is the physical heft of a file a
subjective and inadequate measure of its completeness, but also, records missing from a slender
file may not necessarily be stored within CHRIS. Some CPD records are paper records and the
processes described by the administrative members were insufficient to ensure that these
records were being identified and produced. In contrast to Subpoena Unit leadership’s
assessment of their contentment, many stakeholders expressed frustration when discussing
incomplete investigative files, for example, those missing General Progress Reports. 65
Additionally, in 2012 when CPD’s Bureau of Detectives was reorganized from five Areas to three,
administrative personnel were not provided guidance on how to manage and produce old Area
records. Various personnel responsible for these tasks developed their own processes for
managing and consolidating these records and, as of May 2019, are still processing them to be
sent to the Records Warehouse for permanent storage.

          PRODUCTION PROCESSES
In reviewing CPD’s production processes, OIG encountered inconsistent and idiosyncratic
individual practices which fundamentally compromise CPD’s ability to reliably meet its
constitutional and legal obligations. CPD lacks standard, consistent, management-driven
practices to ensure all responsive records are produced. Individual members of the Subpoena
Unit process subpoenas in different ways; therefore, the competence and completeness of CPD’s

62
   The administrative positions were filled by both sworn members and civilian members.
63
   Investigative files may be incomplete for various reasons; including, the records are in the process of being review
by supervisory personnel, or detectives have not finalized relevant reports thus they have not been reviewed by
supervisors and filed in the investigatory file.
64
   Some records, including Supplementary Reports, are stored within the CHRIS system and on paper in the
Investigatory File.
65
   General Progress Reports are designed to standardize the recording of handwritten notes and memoranda
including witness or suspect Interviews, on-scene canvasses, written inter-watch communications that are
investigative and not administrative in nature, and any other written notes
generated during the course of an investigation.

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response to a subpoena or request might depend upon which individual staff member happens
to handle it. Some Subpoena Unit members told OIG that, prior to the implementation of
GovQA, they would track what records they produced while other members stated that they did
not. Currently, the Subpoena Unit uses GovQA to track what is produced in response to a
subpoena, but OLA does not use GovQA to track its productions for civil litigation; instead, OLA
paralegals track productions in paper case files.

Most stakeholders told OIG that they would send subpoenas and production requests directly to
CPD units because they could not rely on the Subpoena Unit to produce records. CPD has the
expectation that its units would forward the production request to the Subpoena Unit for
tracking and processing. However, some units told OIG that they would directly produce records
to litigants when receiving subpoenas, rather than forwarding to the Subpoena Unit.
Additionally, members do not consistently track the records they are producing to OLA, the
Subpoena Unit, or litigants. While some members may document which records they produce,
others do not. Members who do track their production of records commonly do so of their own
accord without management-driven guidance from the Department. CPD’s current system for
tracking production of records, which relies on GovQA, does not capture the production of
materials directly to litigants from units other than the Subpoena Unit.

Additionally, CPD does not track the production of records by detectives and officers when they
are notified to appear in court or meet with a prosecutor. When CPD members are notified to
meet with prosecutors for the purpose of producing their investigative records, notified
members may also be asked to review records previously produced by CPD to help ensure that
prosecutors have all relevant records to a case. However, even the primary officer or detective
on a case may not be well-positioned to evaluate a prosecutor’s case file for completeness, as
these members would not always be aware of the entire universe of records in CPD’s possession,
nor would they have access to all CPD records (e.g., an assigned detective may not be aware of,
or familiar with, all records created in the course of the arrest and booking of a specific
individual). Some CPD administrative members expressed a belief that notifying an investigating
member to appear in court was a more reliable method for litigants to retrieve CPD records.
However, CPD does not have policies in place dictating what records detectives and officers
should produce when they are notified, nor do their units or the Subpoena Unit track what they
produce; the result is the potential for widely varying practices and gaps among the records that
are produced. Without centrally tracking these alternative production processes, CPD cannot
ensure that it has produced all records responsive to subpoenas and requests. Additionally, by
not tracking these processes, the Subpoena Unit and OLA may engage in duplicative efforts in
attempting to produce records that have already been produced.

       LACK OF REVIEW
In addition to the risks discussed above, which impact CPD’s ability to produce records in its
possession, the fact that CPD regularly produces records without any legal review of either a
subpoena or the Department’s response presents the risk of producing irrelevant materials or
materials which raise privacy and public safety concerns.. The fact that the Subpoena Unit’s


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processes do not include a legal review as standard practice further raises the concern that even
records which will ultimately be produced are not subject to appropriate scrutiny (e.g., to ensure
the redaction of a confidential informant’s names). While current processes include OLA’s review
of certain, specified categories of records (e.g., complaints histories, personnel files, and medical
files) prior to release, these triggers for review by an attorney are not broad enough to address
all potential public safety and privacy-related concerns. For example, CPD told OIG that records
which may impact other ongoing investigations should be reviewed by OLA to ensure proper
redaction or withholding of sensitive information; however, current production processes are
unclear as to how these records would be identified for review, or whose responsibility it would
be to raise these concerns to OLA. 66 Without appropriate legal review of records prior to
production, CPD may be running afoul of privacy constraints or putting ongoing police
investigations at risk.

Furthermore, the Subpoena Unit’s processes do not include a thorough review of all identified
records to ensure that they do not include information which is, in one way or another,
protected from or inappropriate for disclosure. For example, stakeholders expressed frustration
and concern over CPD’s production of body-worn camera footage which often includes hours of
footage that is not relevant to the incident or case at hand. Such footage may contain recorded
unrelated conversations, evidence of separate investigations, or otherwise sensitive material.
Overly inclusive production may pose risks to CPD for its failure to ensure the appropriate
security of information in its possession.

B.      CPD’S MANAGEMENT OF RECORDS LACKS CONSISTENT AND
        COMPREHENSIVE GUIDANCE
CPD’s lack of Department-wide, comprehensive, top-down guidance on the management of
records is an underlying issue that results in inconsistent and inadequate practices for identifying
and producing records. Furthermore, CPD’s records management practices are siloed among its
information systems and physical locations. CPD does not have well understood, enterprise-wide
policies and procedures on how to store and produce records, leading to widely varying practices
and profoundly inconsistent results. Existing directives risk confusion, for example, regarding the
allocation of responsibilities between OLA and the Subpoena Unit. 67 Additionally, the Records
Division does not provide guidance to units on how to best store and produce their records.
Many units OIG interviewed did not have applicable unit-level policies, resulting in individual
members developing their own practices. 68

CPD does not provide members of the Subpoena Unit, or other unit members who have records
production responsibilities, with any specialized training, including any training on the


66
   OIG asked both OLA and the Records Division but neither unit could provide an answer.
67
   General Order G01-02-07 states that the Records Inquiry Section, which houses the Subpoena Unit, is responsible
for processing subpoenas. General Order G01-02-01 states that OLA is responsible for responding to subpoenas.
68
   The Bureau of Detectives does have some records management related policies; however, these policies do not
speak to the production of records.

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Department’s constitutional and legal obligations with respect to the production of records. 69
New Subpoena Unit members, including new commanding officers, shadow the longest-serving
member of the Subpoena Unit to understand how to perform their duties. Within other units,
members typically learn “on the job,” or rely on guidance provided by the member they
replaced, if that person is available. The risks of inadequate production processes increase as
untrained members develop their own habits and practices or learn those of their similarly
untrained predecessors.

The siloed nature of CPD’s records management practices jeopardizes the ability of the
Subpoena Unit, OLA, and other units to fulfill their production-related obligations. Members of
the Subpoena Unit are often unaware how personnel within the various units ensure that all unit
records were identified and produced. Additionally, CPD has not audited these processes to
ensure that records are being managed and produced adequately.

C.      STAKEHOLDERS LACK CONFIDENCE IN CPD’S ABILITY TO MEET ITS
        CONSTITUTIONAL AND LEGAL OBLIGATIONS 70
Most of the stakeholders OIG interviewed —including prosecutors, defense attorneys, private
attorneys, and judges —stated that CPD’s practices around the identification and production of
records are ineffective and lack clarity. Due to their experiences with CPD’s production
processes, and the lack of any means to determine the entire universe of records existing for
their cases, stakeholders lack confidence in CPD’s ability to meet its constitutional and legal
obligations (and by direct implication, the stakeholders’ resulting inability to reliably meet their
own corresponding obligations). Stakeholders request a common set of records which they
expect to exist (e.g., arrest reports or case incident reports) and include broader language in
their subpoenas to capture any records which potentially exist but of which they are not
specifically aware. Stakeholders described the experience of requesting all records related to a
case or investigation, receiving a response, and then having to review the produced records for
any references to other, undisclosed records. For example, a case incident report may indicate
that a certain piece of evidence was recovered, and a requesting party might then (and only
then) be alerted to the potential existence of records related to that piece of evidence.
Additionally, stakeholders recounted the need to repeatedly send subpoenas in order to retrieve
overlooked records. 71

Despite subpoenaing CPD multiple times, prosecutors often remain uncertain that they have all
of CPD’s relevant records. In order to address this uncertainty and to comply with their own

69
   In June 2019 these members received GovQA training, detailing how unit members should use the system to
provide copies of the records for the Subpoena Unit. The training did not cover CPD’s obligations and how CPD
members should ensure that all responsive records are identified.
70
   In addition to the stakeholders with whom conversations are described herein, OIG sought to interview
representatives from the City of Chicago’s DOL. The Department declined to participate in those interviews.
71
   There are occasions in which records are created and approved by supervisors after CPD produces records in
response to a subpoena. Since CPD does not produce unapproved records, litigants are expected to subpoena CPD
again for these records; however, it is unclear how litigants would gain knowledge of these newly created records.

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disclosure obligations, they may notify officers and detectives to appear, to produce records
directly and in-person. Prosecutors’ concerns about the incompleteness of their files were
underscored by a CPD member who told OIG that, when they met with prosecutors, they would
find that the case file produced by CPD was often incomplete.

The lack of confidence in CPD’s production processes can be exacerbated by situations in which
stakeholders are told that certain records do not exist, only to have those records subsequently
come to light, sometimes as late as during or even after the conclusion of a trial. When records
come to light during a trial, litigants are deprived of opportunities to make timely and well-
informed strategic decisions including, for example, whether to take a case to trial or attempt to
resolve it by agreement. Furthermore, the discovery of records after litigation has concluded
may deprive litigants of just and appropriate results altogether.

Stakeholders expressed frustration with the widely varying period of time it takes CPD to answer
requests and subpoenas, ranging from a few months to years. Stakeholders identified the slow
production of records as a primary reason for delayed cases and postponed resolutions.
Stakeholders generally found it difficult to communicate with CPD on production-related issues
due to unresponsiveness and a lack of clarity about whom to communicate with in CPD. Several
stakeholders mentioned that the Subpoena Unit instructs stakeholders to send subpoenas
directly to CPD units, despite CPD’s written policy vesting the Subpoena Unit with responsibility
for processing subpoenas.




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RECOMMENDATIONS
To address the risks in CPD’s record production and management systems, OIG recommends the
following:

    1. CPD should undertake a comprehensive staffing and resource analysis to determine the
       technical resources, workforce size, and personnel capacities that would be required for
       the Department to meaningfully meet its constitutional and legal obligations, and should
       provide its analysis to the Superintendent and the Office of the Mayor.
    2. CPD should charge a single unit with responsibility for records management across all
       units and record types (e.g., paper and electronic records). This entity should ensure that
       CPD’s records management system allows for effective identification and production of
       records across all units and CPD members, including the Subpoena Unit and OLA. The
       charged unit should provide other Department units with guidelines as to how CPD
       members should maintain and file records they create to ensure processes are consistent
       between different members and different units.
    3. The responsible unit, with input from other CPD units, should develop policies,
       procedures, and trainings to ensure the effective identification and production of records
       across all CPD units; including, but not limited to:
       • Developing a single directive outlining the responsibilities of the Subpoena Unit, OLA,
           and any other relevant CPD members for ensuring that the Department meets its
           constitutional and legal obligations, along with a clear delineation of responsibilities;
       • Ensuring, both by assigning qualified personnel and by providing adequate training,
           that responsible members are sufficiently aware of CPD’s constitutional and legal
           obligations and the importance of maintaining and producing records in a manner
           that satisfies those obligations;
       • Providing direction to relevant CPD units as to how to identify and produce paper and
           electronic records in a manner that will satisfy CPD’s obligations, and will allow
           stakeholders to be reasonably confident that they could submit one production
           request to CPD and receive all relevant and responsive records;
       • Ensuring that, in light of the breadth and weight of CPD’s constitutional and legal
           obligations, Subpoena Unit and OLA personnel are adequately trained on CPD’s
           records management practices and the universe of CPD records;
       • Given an understanding of legal and constitutional obligations, ensuring that
           Subpoena Unit members follow consistent procedures when identifying and
           producing records responsive to subpoenas;
       • Ensuring that all records produced to litigants are tracked, including those not
           produced by the Subpoena Unit; 72 and,




72
   While CPD should centralize its records production processes to ensure that one entity can effectively respond to
all subpoenas, OIG acknowledges that detectives and officers may be notified to appear in court to produce records
for the foreseeable future.

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        •   Providing clear guidelines on the circumstances under which CPD personnel should
            forward responsive records to OLA for legal review before production, including
            identifying the person(s) responsible for doing so.
   4.   CPD should audit and evaluate its production and records management processes to
        ensure that records are stored, managed, and produced in accordance with forthcoming
        policies and in a manner that will allow CPD to meet its obligations.
   5.   CPD should improve its transparency with stakeholders by providing the contact
        information for relevant personnel that can answer questions about CPD’s management
        and production of records, as well as providing more complete, publicly available
        information on the totality of records CPD may have in its possession related to an
        individual, case, investigation, etc.
   6.   CPD should develop and implement a comprehensive records management system that
        allows for the automation of all CPD records. If records need to be created on paper,
        these records should be scanned into the system and rendered searchable for effective
        and efficient identification and production.
   7.   Production processes should provide for the management of older records already in
        CPD’s possession. Improvements to how records are created, stored, and indexed in the
        future may not impact older records, which may themselves be relevant to ongoing
        criminal prosecutions and civil litigation arising from law enforcement activities for years
        to come, given the sometimes-lengthy pendency of these proceedings.
   8.   CPD should develop a “search all” function for CPD’s various CLEAR applications and
        ensure that related identifiers (e.g., Records Division numbers, associated with cases, and
        Central Booking numbers, associated with arrests) are associated with one another to
        make it more efficient for Subpoena Unit and OLA members to identify and gather
        electronic records.

MANAGEMENT RESPONSE
   1. “Pursuant to its obligations under the consent decree, the Chicago Police
      Department is currently undergoing a data-driven staffing assessment and
      analysis to ensure that its resources are properly allocated in order to maintain
      unity of command and span of control, and place the Department's finite
      resources in the best position to respond to incidents and prevent crime at police
      districts throughout Chicago. See State of Illinois v. City of Chicago, 17-cv-6260,
      P357-368. As part of this Department-wide staffing analysis, the Records Section
      and Legal Affairs Section is working with the Office of Reform Management to
      ensure that these units are fully staffed to ensure the Subpoena Unit’s and OLA’s
      ability to respond to the approximate 1700 subpoena requests and numerous
      document production requests CPD receives on average per week. Simultaneously,
      personnel and resources from CPD's Information Services Division and other
      administrative positions are being transitioned to the newly created Department
      of Public Safety Administration. As these initiatives are undertaken, the Legal
      Affairs Section and Records Division are continuing to work together to keep the
      appropriate staffing levels for records production processes. The results of any

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       changes to staffing levels will require approval from each unit's respective chain of
       command all the way up to the Superintendent, and will be completed in
       consultation with the Department of Law and the public safety leadership at the
       Mayor's Office.”

   2. “It is important that CPD maintain a decentralized record management system that
      affords the individual units the opportunity to exercise their expertise in the subject
      matter these records span. For example, records compiled and created in open
      investigations may need to be vetted to determine if production will impact an ongoing
      investigation in a way that would prevent an arrest or conviction of an offender.
      Implementation of a central repository for all records and a single unit responsible for
      these records would result in the loss of expertise necessary for responsible and complete
      production. While CPD understands this recommendation, it is simply not possible under
      the Department's current organizational structure, and would require significant
      restructuring as well as a large increase in personnel for the new record management
      unit. Additionally, there are legal questions and consequences with record production that
      require OLA to be involved in the production of documents. Under its current structure
      OLA does not have the requisite staffing to be responsible for all maintenance and
      production of records within the Department. It is also important to note that each unit
      has expertise in the subjects and records it maintains and it is imperative that these units
      be involved in the production of documents to ensure that all responsive documents have
      been identified and produced. To this end, over the last year there has been an increased
      communication between the Subpoena Unit, OLA, and Records Division to refine
      processes and to create SOPs which define location and production of records.

       Despite these limitations, the Office of Legal Affairs will work with Research and
       Development to determine if any changes to the current order for filling subpoena
       requests are necessary. Additionally, OLA and R&D will work together to examine
       whether a general order setting forth in detail how units should maintain and search for
       responsive records and verify that such a search is complete. This verification can be used
       to comply with state and federal discovery requirements while simultaneously ensuring
       that an individual's constitutional rights are being held to the utmost level of importance.
       Additionally, each Bureau will be tasked with creating an internal SOP outlining how it
       should search for records in its control and verify production of these records.

       With respect to the Subpoena Unit, in order to centralize and streamline its response to
       records production requests, CPD recently established Department-wide procedures
       through an electronic tracking and records management software system called GovQA.
       See Special Order S08-04(V), "Disseminating Information in Civil or Criminal Legal Actions
       and In Civil Suits" (eff. 20 June 2019). At this time, an email was established for each unit
       in the Department that would allow assigned personnel to track subpoena requests daily
       from a centralized source in the Department, and ensure that each request and response
       was electronically tracked and time stamped. As the software launched, the Subpoena
       Unit conducted a Department-wide training for all assigned personnel and units to

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            understand the new centralized system and related processes. At the training, the
            Subpoena Unit required each point of contact to develop a standard operating procedure
            for responding to subpoenas using the GovQA system. See example attached
            "114correspondence@chicagopolice.org Standard Operating Procedures for Staff
            Attorneys" (eff. 23 Oct 2019).” 73

       3. “As discussed in Item 2, in 2019 the Department acquired and implemented the GovQA
          software system in order to electronically streamline and track its records production
          processes. At a Department-wide training to launch the software, the Subpoena Unit
          tasked each assigned unit at the training with developing standard operating procedures
          to respond to production requests, whether manually or electronically produced, in order
          to begin tracking responses for the approximate 1,200 to 1,500 requests the Department
          receives weekly. In addition, an email was created with the unit number to begin using the
          GovQA software, and personnel from each unit would be required to track and respond to
          requests on a daily basis. In the coming months the Office of Legal Affairs will work with
          the Records Unit to confirm that each responsive unit has created its own standard
          operating procedure detailing how it receives, searches for and responds with documents.
            For example, in October of 2019 the Legal Affairs Section created a standard operating
           procedure for tracking and submitting requests through GovQA. The assigned email for
           Legal Affairs (Unit 114) is 114correspondence@chicagopolice.org. Assigned staff
           attorneys review the email for subpoena requests each day, and forward requests to
           assigned paralegals when required. A process is laid out to divide the requests equally
           among paralegals, and each member is identified by name. The SOP contains several
           steps to ensure the request is properly documented with an associated case number, and
           that the chain of custody for the record production request is properly accounted for at
           each step to ensure staff attorney review and compliance with state law and civil
           procedure. The Legal Affairs Section has provided notice and training to its staff
           attorneys, administrative staff, and paralegals, and has worked in consultation with each
           unit member involved in the process to establish proper protocols in order to meet its
           legal obligations.

            In 2017, CPD gave direct access of its electronic records to the Department of Law.
            Additionally, the Office of Legal Affairs meets weekly with the Federal Civil Rights division
            of DOL and speaks regularly with the Torts, LIIP, Employment Litigation and Labor
            divisions to ensure that there are no discovery issues and that these divisions have access
            to any necessary records. Further, these divisions work with the defendant officers to
            ensure that all of the records relating to an incident have been tendered.

            The Office of Legal Affairs is staffed with trained Legal Officers who are practicing
            attorneys trained in federal and state discovery requirements who also have knowledge
            of the Department as they are all sworn personnel. Four of the six paralegals assigned to
            OLA are sworn members who are familiar with the records produced by the Department

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     No such example was attached to CPD’s response.

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       as well as the structure of the Department because of their years in OLA responding to
       discovery requests as well as their time as police officers in the Department.
       Notwithstanding these facts, the current leadership of the Office of Legal Affairs has
       taken steps to meet with the attorneys and paralegals to discuss any discovery issue that
       has arisen and to inform them of new records created and inventories of records created
       as a result of certain cases.

       As CPD continues to implement the GovQA process, it will update and establish similar
       SOP's across all units assigned. CPD is currently working with Research & Development to
       formalize a directive on records production in line with the GovQA system, and continues
       to solicit feedback from subject matter experts in each unit in order to develop a uniform
       protocol to ensure a timely and thorough response to records requests.”
   4. “The Auditing Unit has committed to run an audit of CPD's records production processes
      once CPD's newly developed document tracking systems and standard operating
      procedures have been implemented. The Auditing Unit has committed to take into
      account the recommendations encompassed in the OIG's report, as well as past external
      reviews of CPD's records management systems.”

   5. “In its revised directive, CPD will publish a publicly available process that sets forth the
      protocol for production requests through the new GovQA system. In its SOP's, CPD will
      ensure that individuals responsible for records requests are identified within units. For
      example, the Legal Affairs Section SOP names the head and contact number of the
      Subpoena Unit individually in order to call for questions or concerns, as well as the
      paralegals assigned to specified request categories.

       CPD currently has standing and ongoing meetings with leadership from the Cook County
       State's Attorney's Office, the Public Defender’s Office, and Department of Law. At a
       recent meeting following training and communication issues with the GovQA software for
       narcotics cases between CCSAO and CPD, the Supervisory ASA commended CPD for
       resolving the system issue and streamlining the records production process for their
       prosecutors and administrative support staff. The standing discovery meeting with the
       Department of Law occurs weekly, and provides a forum for both sides to discuss
       improvements to production requests and discovery processes. This regular and open
       communication will continue to help resolve technical or communication problems and
       improve outcomes for all parties.

        In addition, the Office of Legal Affairs has taken steps to ensure that DOL attorneys can
       directly contact the subject matter experts necessary to ensure complete document
       production and defense of the case. Previously these requests all came through the Office
       of Legal Affairs which resulted in a bottle neck of information. The direct access has
       afforded the Department of Law the opportunity to directly contact relevant members of
       the department more quickly and efficiently.”



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   6. “CPD has continued to look for opportunities for automation in its records management
      practices while keeping in mind the financial and manpower limitations of the
      Department and the City. As recent examples, the City of Chicago began moving towards
      automated records systems for vehicle parking tickets, which now includes tickets issued
      by CPD officers. Additionally, CPD's Bureau of Detectives began scanning electronic
      records of all General Progress Reports. However, CPD questions the feasibility of creating
      a single source records management system given the many different bureaus and units
      that develop and maintain records, with complicated and varying legal, confidentiality,
      and investigatory interests. Given the cost, personnel, and technical considerations
      involved, CPD cannot commit to establishing a single records management system at this
      time. However, high priority is being placed on the development of a comprehensive data
      systems plan in the near future under the consent decree. See State of Illinois v. City of
      Chicago, 17-cv-6260, P606-609. CPD is hopeful that once this data systems plan is
      completed an automated comprehensive record management system can be further
      investigated and implemented if possible.”

   7. “As mentioned in Item 6, CPD continues to seek opportunities to move paper records to
      electronic form in order to improve access and tracking of old files. For example, the
      Bureau of Detectives recently undertook an initiative to scan older investigative files to an
      electronic format for this exact reason. As another example, the Bureau of Internal Affairs
      also moved many of its older CR's into an electronic format in order to ensure that the
      entirety of prior complaints are readily accessible and identifiable for discovery purposes.
      This process is arduous and expensive, but as files are being produced in older cases an
      electronic copy of these hard files is being maintained by BIA. As CPD moves forward on
      its comprehensive data system [sic].”

   8. “In coordination with the Information Services Division, CPD is working to develop a
      "search all" function by Records Division Number ("RD#") across all applications in the
      CHRIS and CLEAR systems. CPD intends to build this function into its processes to ensure a
      thorough and complete search for relevant records related to a case or investigation is
      conducted.”




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APPENDIX A: OIG-IDENTIFIED RECORDS POTENTIALLY RELATED
TO CRIMINAL PROSEUCTION AND CIVIL LITIGATION ARISING
OUT OF LAW ENFORCEMENT ACTIVITIES
 Form No.               Form Title / Record 74
 11.155                 Chicago Police Department Inter-Office
 11.178                 Routing Slip
 11.377                 Tactical Response Report
 11.377-R               Tactical Response Report - Review
 11.377-I               Tactical Response Report-Investigation
 11.379                 Taser Non-Field Deployment Report
 11.380                 General Offense Case Report
 11.383                 Victim Information Notice
 11.385                 Victim Complainant Signature
 11.386                 Police Shooting Checklist
 11.387                 First Amendment Investigations Unit Log
 11.390                 Police Parole Compliance Missing Log
 11.406                 Hospitalization Case Report
 11.407                 Missing/Found Person Case Report
 11.409                 Recovered Vehicle Supplementary Report
 11.411-A               Supplementary Report
 11.411-B               Supplementary Report -Bureau of Detectives
 11.412                 Vehicle Theft Case Report
 11.413                 Vehicle Tow Report
 11.414                 Vice Case Report
 11.415                 Worthless Document Case Report
 11.417                 Case Report Transfer List
 11.419                 Miscellaneous Incident Exception Report
 11.420                 Arrest Report
 11.426                 Search Warrant Log
 11.430                 Arrest Information
 11.432                 Arrestee Control Sheet
 11.433                 Mass Arrest Card
 11.435                 Specialized Transportation Voucher
 11.440                 First Amendment Worksheet
 11.441                 Law Enforcement Report of Conviction

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    Records found in this appendix were provided to OIG by CPD. Records in the table were selected from CPD’s
March 8, 2019 retention schedule. Records and other information that may be relevant to criminal and civil
litigation may exist outside of the retention schedule; thus, this appendix is not an exhaustive source.

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 11.442            Request for Non-Suit Personal Service Citation
 11.452            Towed Vehicle Disposition
 11.454            Dying Declaration
 11.455            Supervisor's Management Log
 11.457            Vehicle/Equipment Inspection Report
 11.460            Suspect Person/Suspect Vehicle (card)
 11.461            Information Report
 11.463            Material Submitted for Use in the Daily Bulletin
 11.466            Special Event Evaluation Report First Amendment Information
 11.468            LEGAL NOTICE for City of Chicago Municipal and State Violations Animal
                   Seizure
 11.475            Vehicle Relocation Report
 11.476            Police Notice - Accident
 11.478            Public/Private Parking Complaint
 11.479            Relocated Vehicle Release
 11.480            Required Warnings to be Given Prior to Interrogation
 11.483            Consent to Search
 11.490            Administrative Message
 11.491            Request to Review/Hold Recording Tapes
 11.496            Citation Control Sheet
 11.500-A          Personal Property Envelope (Plastic bag) Size 7.5 x 12.5
 11.500-B          Personal Property Envelope (Plastic bag) Size 15 x 22.5
 11.502            Personal Property Form (yellow - book)
 11.505            Leg Iron Control Sheet
 11.509            Consent To Search Data Sheet
 11.511            Evidence (plastic bag)
 11.512            Deceased Remains Transportation Report
 11.516            Detention Report
 11.521            Report of Strip Search (original)
 11.523            Guidelines for Arrestee Screening and Monitoring
 11.524            Arrestee Medical Clearance Report
 11.525            Inner Evidence Bag
 11.551            Court Complaint Transmittal (pink) (gold)
 11.552            Court Appearance Information
 11.554            Court Notification/Sworn Member
 11.560            Notification of Court Absence
 11.564            Nonconsensual Blood Draw Request
 11.573            Attorney/711 Visitation Notification
 11.574            Domestic Incident Notice (Braille Version) Log


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 11.575            Juvenile - Attorney/711 Visitation Notification
 11.602 (A)        Time & Attendance Record (Time & Transfer Record)
 11.602 (B)        Time & Attendance Record (Time & Transfer Record)
 11.602 (S)        Time & Attendance Record (Time & Transfer Record)
 11.605            Attendance & Assignment Record (original)
 11.605            Attendance & Assignment Record (Unit Copy)
 11.608            Overtime/Compensatory Time Report
 11.665            Behavioral Intervention System Counseling Record
 11.666            Counseling Session Report
 11.702            Certifying Statement
 11.704            Inquiry Request Worksheet
 11.714-A          Notification to Consular Officers of Arrests or Detentions Mandatory
                   Reporting Country
 11.714-B          Notification to Consular Officers of Arrests or Detentions Non-Mandatory
                   Reporting Country
 11.719            City Claims Notification
 11.804-C          Major Incident Notification Index
 11.805-C          Major Incident Notification Detail
 11.807-C          Major Incident Notification Patrol Summary Report
 11.812            Domestic Violence Assessment
 11.900            Photo/Live Lineup Advisory Form
 11.910            Investigatory Stop Report
 11.912            Investigatory Stop Receipt
 11.914            Investigatory Stop Report Deficiency Notification
 11.917            Investigatory Stop Audit Report
 11.918            Investigatory Stop Report - Unit Monthly Audit
 12.113            Intra-Departmental Memo
 12.121            Form Letter To Accompany Subpoena
 12.124            Thirty Day Administrative Duty Assignment For Firearm Discharge Incidents
                   Checklist
 12.125            Cannabis Field Test Affidavit
 12.132            CPD Certification of Record Search
 12.133            Receipt for Original Chicago Police Department Records
 12.140            Gang Audit Questionnaire
 12.151            Notice if Hearing before the Review Board Pursuant to E05-6-01
 12.152            Review Board Process - Voting Member Determination
 12.153            Review Board Determination Notice
 12.154            Determination in the Appeal of the Review Board Decision
 15.520            Mental Health - Crisis Intervention Report
 21.101            Contact Information Card

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 21.102            Juvenile Contact Information Card
 21.111            Open & Vacant Building Checklist
 21.116            Infraction Report
 21.130            Body Worn Camera Video Review Report
 21.131            Body Worn Camera Videos Viewed
 21.141-A          Neighborhood Policing Program -Problem Solving Report-Identification
 21.141-B          Neighborhood Policing Program - Problem Solving Report - Follow Up
 21.141-C          Neighborhood Policing Program - Problem Solving Report - Closure
 21.142            Neighborhood Policing Program - Daily Activity Report
 21.200            Bail Bond Cash Envelope & Receipt
 21.204            Covert Vehicle Log
 21.206            Covert Vehicle Control Sheet
 21.235            Community Concern Sheet
 21.243            X-CAT Field Test Narcotic Kit Log
 21.244            X-CAT Field Test Narcotic Kit List
 21.245            Unit Naloxone Issuance Log
 21.246            Unit Naloxone Returned or Lost Log
 21.300            Daily Mission Record
 21.305            Voluntary Special Employment Supervisor's Field Log
 21.309            Watch Commander's Log - Special Functions Group
 21.311            Illinois Law Enforcement Alarm System Log
 21.318            Officers Daily Activity Log
 21.319            Noise Flash Diversionary Device Control Sheet
 21.320            Sergeants Mission Activity Log
 21.324            SWAT Incident Log
 21.328            B.O.P. Daily Assignment Activity Log
 21.331            Helicopter Radio Assignments and Events
 21.332            Helicopter Secondary Mission Sheet
 21.333            Helicopter Homeland Security Mission Sheet
 21.360            C.T.A. Voluntary Special Employment Program/Daily Assignment Activity
                   Report
 21.372            "Hot Spot" Designation Application
 21.373            Gang/Narcotic-Related Loitering Hot Spot Dispersal Request for Event
                   Number Denial Form
 21.418            Explosive Training Record
 21.421            Dog Bite Incident Report
 21.431            Daily Assignment Record/Mounted Unit
 21.438            Safe Harbor Intervention Patrol (SHIP)
 21.444            Dive Report


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 21.445            Dive Log
 21.450            Daily Activity Report- Special Functions Division
 21.456            Boat Accident Investigation Report
 21.460            Daily Watch Assignment Record/ Airport Law Enforcement
 21.468            Chicago Police Marine Unit Emergency Medical Report
 21.470            Canine Field Activity Log
 21.471            Canine Training Log - Explosive
 21.474            Canine Training Log
 21.558            Medical Continuing Education Form
 21.559            Daily Automated External Defibrillator (AED) Inspection Checklist
 21.600            Court Log
 21.602            Court Section Report to Commanding Officer
 21.606            Court Log- Narcotics Court
 21.616            Exceptional Response Plan (ERP) Checklist
 21.618            CPD Member Appearance Report - Grand Jury / Branch 66
 21.636            Seatbelt Enforcement Zone Activity Report
 21.640            Sobriety Safety Check Point Log
 21.641            Sobriety Safety Check Activity Report
 21.642            Sobriety Safety Check Results Log
 21.643            Site Selection Authorization for Use of Private Property
 21.644            Sobriety Safety Check Pre-Event Notification Form
 21.645            Sobriety Safety Check Post-Event Notification Form
 21.646            Sobriety Safety Check Post-Event Website Posting
 21.647            Sobriety Safety Check Post-Event News Release
 21.651            Watch Complement & Field Assignments Report
 21.716            Trespass Affidavit Program Enrollment Form
 21.717            Trespass Affidavit Program Authorization List
 21.718            Criminal Trespass Affidavit
 21.827            Daily Activity Report - "Students First" Safe Passage Program
 21.904            Weekly Activity Report/District Tactical Teams (unit copy)
 21.905            Domestic Violence Bail Bond Attachment Special Conditions
 21.912            Property Room Log
 21.916            Watch Incident Log
 21.919            Personal Equipment Log
 21.931            District Assignment Schedule-Foot Routes, Furlough & Miscellaneous
 21.938            District School Visitation Report
 21.953            Daily Activity Report /Park District Patrol
 21.957            Fixed Remote Surveillance POD Video Retrieval Request
 21.958            Observation Van Deployment / Video Retrieval Request


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 21.959            Observation Van Worksheet Log
 21.963            Informational Checkpoint Incident Report
 21.964            Tour of Duty Report
 21.965            POD Placement Request
 21.966            POD Camera Information
 21.967            Camera POD / Image Retrieval Investigative Report
 21.970            LIDAR Speed Detection Log
 21.971            Arrestee and Property Transport Manifest
 21.972            Arrestee Property Log
 21.973            Murder/Shooting Notification
 21.974            Lockup Facility Weekly Inspection Report
 21.975            Daily Prisoner Log Record
 22.101            Daily Activity Report, Traffic
 22.103            Daily Activity Report, Traffic Enforcement
 22.110            Illinois Traffic Crash Report (File)
 22.111            Driver's Crash Statement (copy)
 22.112            Witness' Crash Statement
 22.114            Additional Witness Information-Personal Service Citation
 22.118            Alcohol/Drug Influence Report
 22.121            DUI Case Management File Folder
 22.122            Driver Information Exchange Card
 22.908            Notification of Rescheduled Traffic Court or Civil Law Case
 22.909            Transmittal Listing/DUI Evidentiary Report
 22.918            Court Notification Log/Absentee & Late Arrivals
 22.951            Department Vehicle Traffic Crash or Damage Report
 22.958            Traffic Pursuit Report
 22.959            Traffic Pursuit Supplemental Report
 22.960            Traffic Pursuit Report Continuation Sheet
 23.100            Vehicle Assignment Log
 23.121            Investigative File Inventory
 23.122            General Progress Report
 23.124            Investigative File Control
 23.171            Social Media Request
 23.177            H/B/T Sniper Program Record
 23.180            Felony Minute Sheet
 23.181            Request for Latent Fingerprint Comparison
 23.185            Detective Division CAPS Information Notice
 23.186            Defendant Hold Notification
 23.188            Contact Analysis Report/Detective Division


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 23.189            Receipt Advancement of Funds Report
 23.190            Reliability/Advancement of Funds Report
 23.191            Probable Cause Statement & Judicial Determination
 23.192            Detective Division Arrestee Form
 23.195            Evidence Transmittal
 23.196            Request for Evidence from ERPS
 23.198            Polygraph Unit DVD/Video
 23.199            Digital Recording of DVD/Digital Video Tape/Cassette Receipt
 23.204            Consent to Collect Biological Samples for Elimination Purposes
 23.205            Criminal Registration Receipt
 23.206            School/Playground/Daycare Zone Violation Notice
 23.210            Gun Offender Registration Notification - (For External Agency Use)
 23.213            Registration Fee Waiver Application
 23.214            Gun Offender Registration - CPD Notification
 23.216            Chicago Gun Offender Registration
 23.217            Registration as a Person Lacking a Fixed Residence
 23.218            Criminal Registrants Notification of Requirements
 23.223            Sex Offender Community Notification Letter
 23.224            Certified Declaration - Sex Offender
 23.225            Certified Declaration - MVOAY
 23.226            Certified Declaration - Gun Offender
 23.227            Certified Declaration - Arsonist
 23.262            Polygraph Examiner Tracking Sheet
 23.263            Peer Review Polygraph Score Sheet
 23.264            Specific Issue Polygraph Score Sheet
 23.270            Social Media Exploitation (SOMEX) Team Intelligence Report
 23.271            Consent to Assume Online Identity Authorization
 23.404            Sexual Assault Incident Notice
 23.406            Homicide Case Folder
 23.407            Sworn Weapon Discharge Incident Folder
 23.410            Victim Notification of Sexual Assault Evidence
 23.411            Juvenile Felony Investigative Summary Sheet
 23.482            Report of Detective Assignments
 23.871            Daily Arrest Record
 23.971            DOC Analyst Field Data Report
 23.988            Receipt of Allegation
 24.110            Juvenile Minutes Sheet
 24.111            Curfew Violation Report
 24.112            Transmittal/Curfew Violation-School Absentee


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 24.118            Child Abuse Hotline Notification
 24.136            Formal Station Adjustment
 24.137            Informal Station Adjustment
 24.138            Risk Assessment
 24.144            Request To Initiate The AMBER Alert Notification Plan
 24.147            Conditions of Station Adjustment Notification and Agreement
 24.148            Notice of Noncompliance with the Conditions of Station Adjustment
 24.402            Community Risk Information Sheet
 24.403            Processing Detective Outreach Form
 24.410            Parent/Guardian Request For Juvenile Court Referral
 24.418            JISC Overflow Referral Form
 24.419            JISC Arrest Disposition Screening Instrument
 24.420            Condition of Station Adjustment - CTTV Workshop Requirement
 24.421            Condition of Station Adjustment - CTTV Workshop Violation
 24.422            CTTV Workshop Parent/Guardian Notification Call Log
 24.423            CTTV Workshop Participants Roster and Session Log
 24.424            CTTV Workshop Sign-In Sheet
 24.458            CPD Arrest On/Around Chicago Public School Property
 24.483            Juvenile Record Inquiry
 24.506            Missing Persons Daily Telephone Log
 24.511            Immediate Action Investigation/Tender Age Missing
 24.518            Daily Log of Juveniles Taken Into Custody
 31.114            LEADS User Request Form
 31.117            Notice of Non-Eligibility for U Nonimmigrant Status Certification
 31.233            Recovered Firearm Information
 31.236            Repossessed Vehicle Card
 31.245            Notification of Private Tow
 31.408            Application for Authority to Dispose of Local Records
 31.409            Records Disposal Certificate
 31.560            Gun Recovery Information
 31.562            Firearms Registration
 31.563            Affidavit of Employment
 31.571            Bicycle Registration Card
 31.579            Gun Registration Change of Information
 31.610            Firearms Disposition
 31.614            Status of Firearm
 31.615            Criminal Enterprise Database Review & Appeal
 31.621            Firearms Registration Letter
 31.660            Transfer List-Traffic Crash Reports


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 31.678            Audit Sheet of Missing Reports
 31.707            Redline Notification
 31.714            Expunged Record (file card)
 31.813            Fingerprint Card - Adult
 31.813            Fingerprint Card - Juvenile
 31.814            Palm print Card
 31.853            Fingerprint Examination Report
 31.855            Latent Print Evidence Envelope
 31.856            Latent Print Examination Report
 31.857            Case Documentation Worksheet
 31.858            AFIS Documentation Worksheet
 31.859            Case Checklist
 31.860            Reviewer Case Checklist
 31.904            Request for Identification Records
 31.911            Request for Multiple Identification Records
 31.951            Request for Identification Photos
 32.103            P.D.T. Service Request
 32.604            Confirmation of Transfer of Sexual Assault Report to Law Enforcement
                   Agency Having Jurisdiction
 32.622            Daily Activity Report-Alternate Response Program Call Back Volume
 32.623            Weekly Summary - Alternate Response Section
 33.100            Request for Analysis/Receipt for Exhibit
 33.101            Evidence Envelope
 33.111            Latent Prints Envelope
 33.113            Major Crime Scene Report
 33.117            Request for Records - Forensic Services Div.
 33.119            Firearms Evidence Label
 33.310            Evidence Label - Large Size
 33.310-A          Evidence Label - Small Size
 33.316            Crime Scene Worksheet
 33.335            Narcotic Evidence Log & Transmittal
 33.367            Consent to Collect Biological Samples
 33.404            Firearms Evidence Envelope
 33.407            Pellet Envelope
 33.500            Polygraph Case Review
 33.501            Polygraph Examiner's Worksheet
 33.503            Polygraph Subject's Consent
 33.503-A          Polygraph Subject Consent
 33.701            Crime Lab Negative Envelope


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 33.713            Request for Evidence Identification Photographs
 33.715            Photo Identification Card
 33.716            Photography Team Activity Report
 33.802            Daily Activity Report-Crime Scene Processing Section
 33.807            Palmprint Elimination Card
 33.817            Notification to Victim - Forensic Services
 34.303            Motor Vehicle Inventory Report
 34.312            Daily Vehicle Activity Report
 34.325            Receipt for Impounded Vehicle (copies 2 & 3)
 34.339            Notification-Stolen Vehicle Recovered Message
 34.342            Request to Impound Vehicle by Police
 34.343            Notice of Intent to Impound Vehicle
 34.347            Vehicle Impoundment/Seizure Report
 34.500            Recovered Property Disposition Tracer
 34.502            Request for Confiscated Property
 34.510            Evidence Tag (red & manila)
 34.511-A          Court Order Releasing Property
 34.511-B          Court Order/Disposal of Property
 34.511-C          Court Order
 34.512            Court Order to Impound Evidence
 34.520            Evidence & Recovered Property Envelope
 34.520-A          Evidence & Recovered Property Envelope - Narcotics
 34.520-B          Evidence & Recovered Property Envelope - Firearms
 34.523            Property Inventory - File
 34.549            Auction Sales Record
 34.553            Currency Disposition Record/Partial Turnover
 34.554            Property Release Order
 34.557            Property Receipt/A.S.A. or Law Enforcement Agency
 34.559-A          Evidence Property Envelope (Plastic bag) Size 7 x 12
 34.559-B          Evidence Property Envelope (Plastic bag) Size 15 x 20
 34.559-C          Evidence Property Envelope (Plastic bag) Size 18 x 36
 34.562            Evidence and Recovered Property Section (ERPS) Inspection Sheet
 34.611            Vehicle Equipment Issued Log
 34.612            Firearms Inventory Control
 34.613            Lockup Keepers Monthly Food Record
 34.623            Equipment & Supply Section Naloxone Issuance Log
 34.653            Bond Money Transmittal Receipt
 34.654            Property Transmittal
 34.655            Latent Fingerprint Lift Transmittal


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 34.660            C.P.D. Radio/P.D.T. Repair Request
 41.105            Observation or Surveillance Report
 41.111            Report Control
 41.117            Film/Photo/Video Processing Request
 41.124            Evidence Recovery Log
 41.303            Organized Crime Division Arrestee Form
 41.304            Tactical Plan/Raid Preparation List
 41.307            Social Media Covert Identity Authorization (SMCID)
 41.308            Narcotics Saturation Daily Activity Sheet
 41.367            CD/DVD Envelope
 41.506            Report of Investigation
 41.507            Notification to Assistant State's Attorney Assigned to Central Bond Court
 41.551            Disclaimer of Ownership & Knowledge of Ownership
 41.552            Asset Forfeiture Investigation Report
 41.700            Daily Prisoner Log
 41.703            Search Warrant Data
 41.709            Daily Assignment Status Report
 41.714            Operation Pinpoint Request
 41.720            Currency Inventory Bag (CIB) (Plastic bag)
 41.720-A          Currency Inventory Bag (CIB) Receipt (Plastic)
 42.501            Daily Inspection Report
 42.503            Irregularity Report
 42.510            Inspection Report (all copies)
 43.100            Vice Complaint
 43.404            Contact Analysis Report (unit copy)
 43.408            Confidential Informant Agreement
 43.409            Reliability/Advancement of Funds Request
 43.411            Evidence of Purchase/Official Advance Funds
 43.412            Cash Receipt-Withdrawal/Official Advance Funds-Notice of Debit
 43.413            Pre-Recorded Funds
 43.415            B.O.C. Field Assignment Form
 43.416            Search Request
 43.420            Surveillance Report Log
 43.423            Raid Activity Summary
 44.101            Reprimand
 44.102            Suspension Notification
 44.103            Request for Interview/Statement/Report
 44.104            Criminal Rights/Notification of Charges Allegation
 44.105            Administrative Proceeding Rights/Notification of Charges/Allegations


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 44.106            Waiver of Counsel/Request to Secure Counsel
 44.108            Investigator's Checklist
 44.112            Summary Report
 44.112-A          Summary Report Digest
 44.113            Command Channel Review
 44.113-A          Command Channel Review-Sustained Log Number Investigation
 44.114            Request for Time Extension
 44.115            Notification of Charges/Allegations
 44.117            Consent by Patient to Disclosure of Information
 44.126            Sworn Affidavit For Log Number Investigation
 44.127            Sworn Affidavit For Log Number Investigation (Electronically Recorded
                   Statement)
 44.128-A          Override Affidavit - Bureau of Internal Affairs
 44.128-B          Override Affidavit - Civilian Office of Police Accountability
 44.130            Administrative Alcohol/Drug Influence Report
 44.135            B.I.A. General Progress Report
 44.163            Evidence Collection Bag
 44.164            B.I.A. Request for Photographs
 44.166            B.I.A. Reliability/Advancement of Funds Report
 44.200            Complaint Register
 44.207            Classification Notification
 44.211            Confirmation of Telephone Notification-BIA
 44.212            Specifications
 44.213            Log No. Case Summary
 44.217            Notification Re: Automated Complaint
 44.222            Waiver of /Request for Police Board Review of Suspension
 44.223            Investigator Unable To Contact Reporting Party/Victim/Witness
 44.225            Request for Disposition Letter to Reporting Party
 44.246            Request for Review of Discipline (Reprimands and Suspensions from One (1)
                   to (10) Ten Days)
 44.249            Traffic Review Board Summary of Findings
 44.250            Reporting Party/Victim/Witness Statement
 44.251-A          Request for Review of Discipline (For Discipline of Eleven (11) to Thirty (30)
                   Days)
 44.251-B          Request for Review of Discipline (For Discipline of Thirty-One (31) to (365)
                   Days
 44.252            Notice of Alcohol and Drug Testing Following a Firearms Discharge Incident
 44.255            Mediation Agreement
 44.256            Pre-Disciplinary Hearing
 44.257            Pre-Disciplinary Meeting - Notice to Union (AFSCME)

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 44.258            Notification of Log Investigation
 44.259            Request for Disciplinary Record
 44.260            Consent to Audio Record Statement - Non-Department Members
 44.261            Receipt of Formal Statement - Department Members
 44.262            Neighbor Interview Canvass Report
 44.263            Notice of Recommendation for Mediation Review
 44.264            BIA Photo Line-Up Advisory Form - (Administrative)
 44.265            BIA Evidence Checklist
 44.266            BIA Investigative File Control
 44.267            Consent to Audio Record Statement - Civilian Department Member
 44.279            Bureau of Internal Affairs Confidentiality Policy
 44.300            Notification of Duty Restrictions (Civilian Members)
 44.301            Notification of Duty Restrictions (Sworn Members)
 44.302            Request for Issuance of Temporary ID Card-BIA
 44.304            Statement of Complainant to Terminate Complaint
 44.306            Release of Duty Restrictions (Sworn Members)
 44.307            Release of Duty Restrictions (Civilian Members)
 44.308            Notification of Duty Restrictions (Recruit)
 44.402            Request to Bypass Command Channel Review
 44.500            Notification of Complaint Review Panel Hearing (all copies)
 44.501            Notification Relative to Police Board Hearing
 44.504            Police Board Case-Progress Record
 44.508            Log Number Review and Return
 44.509            Notification -Advocate Section
 44.512            Police Board Hearing
 61.230            Cost Recovery Incident Form
 61.231            Cost Recovery Incident Form - Detective Division
 61.314-A-D        Request for Reimbursement
 61.416            Election/Rejection of Options to Suspension
 62.109            Rules and Regulations Affidavit
 62.138            Letter of Recommendation
 62.142            Notification of Duty Restrictions Per Director, Human Resources Division -
                   FOID Card
 62.152            Personal History Questionnaire -Sworn (PHQ)
 62.216            Non-Disciplinary Intervention Report
 62.217            Individualized Performance Plan
 62.357            Performance Evaluation - Sworn Supervisors
 62.358            Performance Improvement Plan (PIP) - Sworn Supervisors
 62.366            Personnel Concerns Progress Report


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 62.369                 Medical or Complaint Log Investigation Conflict Certification
 62.441                 Drug Test Specimen Affidavit
 62.442                 Hair/Nail Sample Test Affidavit
 62.461                 Mandatory Physical and/or Psychological Examination Notification
 62.463                 Random Drug & Alcohol Testing Notification
 62.467                 Civilian Analysis Specimen Affidavit
 63.328                 Recruit Firearms Shooting Record
 63.340                 Ammunition Report
 63.344                 Firearm Loan Receipt
 63.345                 Training Deficiency Notification
 63.346                 Firearms Training Unit Attendance Sheet
 65.118                 E-Mail Compliance Statement
 65.119                 E-Mail Search Request
 65.224                 Digitally Recorded Data Viewing/Hold/Duplication Request
 ACC-3230-34            Animal Inventory (pink)
 CCM602/08/09           Bail Bond Receipt Book
 NONE                   Body Worn Camera Video 75
 NONE                   C.T.A. Surveillance Card
 NONE                   Citation, Personal Service (Dept. record copies)
 NONE                   Commanding Officer's Book 76
 NONE                   Complaint Register (C.R.) File
 NONE                   Complaints, Mayor's Office of Inquiry & Information 77
 NONE                   DUI Case Files
 NONE                   Grievance Files (Original)
 NONE                   In Car Camera Video 78
 NONE                   Inspection Log of Persons in Custody
 NONE                   Juvenile Jacket
 NONE                   Mayor's Office of Inquiry & Information Complaints 79
 NONE                   Motor Vehicle Inventory File
 NONE                   Personal Service Citation (Dept. copy)
 NONE                   Personnel Jacket
 NONE                   Personnel Orders (original)
 NONE                   Search Warrant File
 NONE                   Summary Punishment File
 NONE                   Traffic Citation Book Receipt

75
   Body Worn Camera Video was not hyperlinked as no template version of video exists.
76
   Commanding Officer’s Book was not hyperlinked; it is a book with blank pages.
77
   CPD informed OIG that this record is no longer in use.
78
   In Car Camera Video was not hyperlinked as no template version of video exists.
79
   CPD informed OIG that this record is no longer in use.

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 NONE                      Unit Personnel Jacket 80
 NONE                      Urine Drug Test File
 PER-95                    Performance Evaluation
 PER-96                    Performance Evaluation-Supervisory
 Varies                    Case Report File 81




80
     A template was not hyperlinked as contents of files vary.
81
     A template was not hyperlinked as contents of files vary depending on the case type.

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REVIEW
REVIEW OFOF CPD’S
            CPD’S MANAGEMENT
                  MANAGEMENT AND
                             AND PRODUCTION
                                 PRODUCTION OF
                                            OF RECORDS
                                               RECORDS                                                                                    JUNE 10,
                                                                                                                                          JUNE 10, 2020
                                                                                                                                                   2020


APPENDIX
APPENDIX B:
         B: CPD’S
            CPD’S RESPONSE
                  RESPONSE




              Lori E. Lightfoot                                Department of Police - City of Chicago                                            Charlie Beck
              Mayor                                       3510 S. Michigan Avenue - Chicago, Illinois 60653                   Interim Superintendent of Police

              February 14, 2020

              VIA ELECTRONIC MAIL
              Mr. Joseph M. Ferguson
              Inspector General
              City of Chicago Office of Inspector General
              740 N. Sedgwick, Suite 200
             Chicago, Illinois 60654
              jferguson@igchicago.org

             Re:      CPD’s Response to OIG Review of the Chicago Police Department's Management and Production of
                      Records

             Dear Inspector General Ferguson:

                     Please see below the Chicago Police Department's ("CPD") response to the City of Chicago Office of
             Inspector General's ("OIG") Review of the Chicago Police Department's Management and Production of
             Records. CPD incorporates herein its individual responses on the "Management Response Form" provided by
             the OIG's auditing team.

                      As a preliminary matter, it is imperative to emphasize that the Chicago Police Department agrees that
             protecting individual legal and constitutional rights in both criminal and civil litigation is of the utmost
             importance. Additionally, the Department seeks to operate in a fully open and transparent manner. These
             values have been at the root of the numerous changes and improvement CPD has made over the last few years
             to processes related to the Department's record management and production systems.

                      That said, the OIG's audit and analysis of CPD's records management and production does not
             adequately reflect the current discovery and records production processes within the Department. This is due in
             large part to OIG’s initiation of the audit of CPD's records management systems before the electronic systems
             and improvements were implemented, and the decision of the City of Chicago Department of Law ("DOL") not
             to participate in the audit and divulge processes to the OIG that are protected under attorney work product
             privilege. The OIG also did not interview DOL's retained outside counsel that represent the City of Chicago
             and CPD in certain civil matters.          As it pertains to civil litigation, in its "stakeholder" interviews, the OIG's
             opinions from external partners were based solely upon "private attorneys" who represent the plaintiffs that sue
             the City of Chicago and Chicago Police Department, and have a fundamental self-interest in creating a negative
             perception of CPD's discovery processes.              Finally, in framing the issue, the OIG cites to a limited number of
             instances, some quite old, in which the production of records was delayed or records were not produced during
             litigation, without context for the tens of thousands of cases in which CPD has been involved and completed
             discovery properly.



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                                                                                                                                           (312) 746-6000
                                                 E-mail: police@cityofchicago.org   - Website: www.cityofchicago.org/police




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OIG FILE
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REVIEW
REVIEW OFOF CPD’S
            CPD’S MANAGEMENT
                  MANAGEMENT AND
                             AND PRODUCTION
                                 PRODUCTION OF
                                            OF RECORDS
                                               RECORDS                                                               JUNE 10,
                                                                                                                     JUNE 10, 2020
                                                                                                                              2020




               Indeed, in relying on the instances cited in the report, the OIG fails to
                                                                                         take into account the volume of
        document requests in criminal and civil cases that CPD handles. CPD
                                                                                 responds to approximately 1,700
        subpoenas and document production requests on average per week, or
                                                                                 over 88,000 on average per year. When
       mistakes in particular cases were made, the OIG’s report fails to account for the
                                                                                           significant remedial measures
       already taken following those instances to prevent those discovery issues from
                                                                                         reoccurring. CPD flatly rejects
       the OIG’s conclusion — reached from citing a handful of discovery sanctions
                                                                                     — that CPD lacks the capability to
       respond thoroughly and completely to meet its constitutional and legal obligation
                                                                                          s in the criminal and civil
       matters to which the Department is a party.

                In fact, each case cited by the OIG has led to a material improvement
                                                                                        in CPD's document production and
       management systems. Following the discovery sanctions leveled in
                                                                              these cases, CPD has taken remedial
       measures in coordination with DOL to produce complete responsive records.
                                                                                         For example, the report cites to
       the Fields case as an example of documents not produced in a criminal
                                                                                 trial which were later produced in the
       civil trial. It should first be noted that while it is inexcusable that the General Progress
                                                                                                      Reports (GPRs) were
       not produced, the failure to produce these records occurred over 35 years ago.
                                                                                            In fact, the review of the files
       referenced in the OIG Report occurred years before the 2016 article that
                                                                                the OIG cites to as support for the
       order to review files. The investigative files reviewed by Plaintiffs’ counsel in
                                                                                         the Fields case have since been
       reviewed by DOL, moved to CPD Headquarters, audited by the Bureau
                                                                                    of Detectives, and converted to
       electronic files (while maintaining the original files) in an effort to ensure
                                                                                       that these investigative files are
       readily produced in response to discovery requests and subpoenas. Furthermore,
                                                                                        as a result of the CR that was
       not located in the Cazares case in 2017, CPD created an overarching search tool
                                                                                       that allows the Bureau of
       Internal Affairs the ability to search multiple databases containing disciplina
                                                                                       ry history in a single search.
      Additionally, CPD obtained the full version of the Warehouse Inventory List previousl
                                                                                                  y maintained by
      Corporation Counsel and its outside counsel. Access to this full list has allowed
                                                                                            the Bureau of Internal Affairs
      an additional tool to ensure a fulsome search of all disciplinary histories of officers.
                                                                                                 Similarly, in response to
      the Motion in Young, CPD and DOL worked to create a comprehensive list
                                                                                     of potentially relevant documents in
      all officer-involved shooting investigations, and trained its attorneys and paralegals
                                                                                               to work through this
      checklist to ensure complete records production for every OIS investigat
                                                                               ion.        Significantly, after the law firm
                                                                                                                of
      Winston & Strawn issued its external review of DOL and CPD’s discovery processes,
                                                                                        both instituted changes
      recommended by the firm’s report including providing DOL with direct
                                                                           access to CPD's electronic databases   to
      pull relevant documents directly, and establishing an open line of communication
                                                                                       in standing meetings between
      both partners to discuss individual cases and improve processes.

               CPD's Office of Legal Affairs has coordinated with its counterparts at DOL to
                                                                                               ensure that attorneys and
      staff are fully aware of the types of records and official forms CPD maintains.
                                                                                       Additionally, DOL receives
      monthly updates of CPD orders and forms created by CPD's Research
                                                                        & Development Unit.                 CPD's Office
                                                                                                                      of
      Legal Affairs further participates in standing weekly meetings with DOL leadership
                                                                                              to update one another on
      pending litigation, ensure discovery requests are complete, and continue to refine
                                                                                          its processes. Similarly, CPD
      maintains ongoing meetings with leadership at the Cook County State's Attorney's
                                                                                            Office to discuss records
      disclosure and ensure discovery obligations are met between both agencies,
                                                                                   particularly in light of the adoption
      of its new electronic subpoena and discovery tracking systems.

               In order to adequately manage the huge volume of Tequests it receives and modernize
                                                                                                    its systems, last
      year the Chicago Police Department's Records Division adopted an electronic document
                                                                                               request and tracking
      system to account for each request and ensure a timely and thorough discovery
                                                                                      response in every criminal case
      to which CPD receives a subpoena.      During this time, CPD's Records Division also worked to establish standard


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REVIEW
REVIEW OFOF CPD’S
            CPD’S MANAGEMENT
                  MANAGEMENT AND
                             AND PRODUCTION
                                 PRODUCTION OF
                                            OF RECORDS
                                               RECORDS                                                        JUNE 10,
                                                                                                              JUNE 10, 2020
                                                                                                                       2020
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      operating procedures within its Subpoena Unit to address the issues of officers handling responses in different
      ways.   Recognizing the complexity and varying duties and investigatory records within each unit throughout
                                                                                                                  the
      Department, CPD is currently working to establish an order setting forth Department-wide standard operating
      procedures for records production and management. CPD will take the recommendations made by OIG’s
      auditing team when drafting and implementing this order. In the coming months the Office of Legal Affairs
      hopes to introduce a similar electronic request and tracking system that will allow records to be
                                                                                                        produced by the
      units who maintain them while being tracked by the trained paralegals in OLA to ensure the appropriate units
      have responded and the documents have been received by DOL.

             As referenced in greater detail in its "Management Response Form," CPD has either already completed
     or taken substantial steps to address each of the recommendations provided by the OIG. In stimmary, the
     Department now follows an electronically tracked and time stamped records production and subpoena response
     process, with standard operating procedures implemented at the Subpoena Unit and Office of Legal Affairs.
     CPD will continue to develop SOP's applicable to each unit and division throughout the Department to
     streamline the records production process based upon the individual unit involved in any litigation. CPD
     acknowledges that there have been mistakes made in the past and there is, of course, room for additional
     improvement as the Department moves forward. CPD takes its responsibility to quickly and thoroughly
     respond to document requests and subpoenas very seriously and holds the constitutional protections afforded to
     each person with the utmost regard. CPD continues to work to keep all of its records electronically maintained
     and accessible upon request, including within the Bureau of Detectives and Bureau of Internal Affairs. Given
     the transformational reorganization and updates to system processes that are now taking place within the
     Department, CPD will continue to work towards modernizing its systems, ensuring adequate staffing, and
     creating accountability within units at every opportunity to improve and streamline its records management and
     production processes.

             Thank you for your communication on this matter. Please reach out to the Office of Legal Affairs with
     any additional questions.

                                                                  Sincerely,



                                                                Min DMatle,
                                                                  Dana O'Malley
                                                                  General Counsel
                                                                  Office of the Superintendent
                                                                  Chicago Police Department




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OIG FILE #18-0148
REVIEW OF CPD’S MANAGEMENT AND PRODUCTION OF RECORDS                                 JUNE 10, 2020


MISSION
The City of Chicago Office of Inspector General (OIG) is an independent, nonpartisan oversight
agency whose mission is to promote economy, efficiency, effectiveness, and integrity in the
administration of programs and operations of City government. OIG achieves this mission
through,
           • administrative and criminal investigations by its Investigations Section;
           • performance audits of City programs and operations by its Audit and Program
           Review Section;
           • inspections, evaluations and reviews of City police and police accountability
           programs, operations, and policies by its Public Safety Section; and
           • compliance audit and monitoring of City hiring and employment activities by its
           Hiring Oversight Unit.

From these activities, OIG issues reports of findings and disciplinary and other recommendations
to assure that City officials, employees, and vendors are held accountable for violations of laws
and policies; to improve the efficiency, cost-effectiveness government operations and further to
prevent, detect, identify, expose and eliminate waste, inefficiency, misconduct, fraud,
corruption, and abuse of public authority and resources.

AUTHORITY
OIG’s authority to produce reports of its findings and recommendations is established in the City
of Chicago Municipal Code §§ 2-56-030(d), -035(c), -110, -230, and 240.


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                                       PROJECT TEAM
                         RICARDO ALVAREZ, PERFORMANCE ANALYST
                        DANIEL LOPEZ, SENIOR PERFORMANCE ANALYST
                        PATRICK TRAN, ASSISTANT INSPECTOR GENERAL

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